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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY


GUY DEL GIUDICE, Individually and on
Behalf of All Others Similarly Situated,

                            Plaintiff,

              - against -

S.A.C. CAPITAL MANAGEMENT, LLC,                       DOCKET NO. _______________
S.A.C. CAPITAL ADVISORS, LLC, S.A.C.
CAPITAL ASSOCIATES, LLC, S.A.C.
HEALTHCO FUNDS, LLC, SIGMA
CAPITAL MANAGEMENT, LLC, STEVEN                                 Civil Action
A. COHEN, ARTHUR COHEN, JOSEPH
HEALEY, TIMOTHY MCCARTHY, DAVID
MARIS, BANC OF AMERICA SECURITIES
LLC, GRADIENT ANALYTICS, INC.,                        CLASS ACTION COMPLAINT
CAMELBACK RESEARCH ALLIANCE,                             AND JURY DEMAND
INC., JAMES CARR BETTIS, DONN
VICKREY, PINNACLE INVESTMENT
ADVISORS, LLC, HELIOS EQUITY FUND,
LLC, HALLMARK FUNDS, GERSON
LEHRMAN GROUP, THOMAS LEHRMAN,
PATRICK DUFF, and DOES 1 THROUGH
50,

                            Defendants.


       Plaintiff Guy Del Giudice, individually and on behalf of all others similarly situated,

complaining against defendants S.A.C. Capital Management, LLC (“S.A.C. Capital

Management”), S.A.C. Capital Advisors, LLC (“S.A.C. Capital Advisors”), S.A.C. Capital
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Associates, LLC (“S.A.C. Capital Associates,” and together with S.A.C. Capital Management

and S.A.C. Capital Advisors, “S.A.C. Capital”), S.A.C. Healthco Funds, LLC (“S.A.C.

Healthco”), Sigma Capital Management, LLC (“Sigma”), Steven A. Cohen (“Steven Cohen”),

Arthur Cohen, Joseph Healey (“Healey”), Timothy McCarthy (“McCarthy”), David Maris

(“Maris”), Banc of America Securities, LLC (“BAS”), Gradient Analytics, Inc. (“Gradient”),

Camelback Research Alliance, Inc. (“Camelback”), James Carr Bettis (“Bettis”), Donn Vickrey

(“Vickrey”), Pinnacle Investment Advisors, LLC (“Pinnacle”), Helios Equity Fund, LLC

(“Helios”), Hallmark Funds (“Hallmark”), Gerson Lehrman Group (“Gerson Lehrman”),

Thomas Lehrman (“Lehrman”), Patrick Duff (“Duff”) and Does 1 through 50, says as follows,

on information and belief and based upon the facts set forth in the publicly filed complaint in

Biovail Corp. v. S.A.C. Capital Mgmt. LLC et al., Docket No. ESX L-001583 06 (Superior

Court of New Jersey, Essex County) (Bernstein, J.):

                               PRELIMINARY STATEMENT

       1.     This is a class action on behalf of all persons and entities who sold the securities

of Biovail Corporation (“Biovail” or the “Company”) on or after June 5, 2003 (the “Class

Period”), and who were damaged thereby, seeking to pursue remedies under the federal

securities laws, including the Securities Exchange Act of 1934 (the “Exchange Act”).

       2.     This action arises from a massive, illegal and continuing stock market

manipulation scheme, which targeted the common stock of Biovail and severely harmed its

investors, and which has resulted in immense ill-gotten profits for S.A.C. Capital and other

extremely powerful hedge funds.

       3.     At the core of this scheme was defendants’ perpetration of a massive and

fraudulent disinformation campaign attacking the stock of Biovail and other targeted publicly-




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traded companies, including the preparation of ostensibly objective, but in fact biased, analyst

reports; defendants’ accumulation of short positions in the stock of those companies, i.e., bets

that the stock prices would decline; and defendants' subsequent unleashing of the disinformation

campaign and biased analyst reports on the unsuspecting trading public, thus bringing about the

sought-after stock price declines and the resulting immense profits for defendants and

commensurate harm to the plaintiff and the Class.

       4.      Defendants' scheme thus attacked the very basis for the financial markets -- the

free and fair disclosure and dissemination of information concerning publicly-traded stocks.

       5.      S.A.C. Capital, a hedge fund conglomerate, is at the center of this illegal scheme.

S.A.C. Capital was founded and is run by Steven Cohen, who has immense power in the

financial markets. Through S.A.C. Capital, Steven Cohen controls at least $7 billion in capital,

with his trading activity regularly accounting for 3% of the daily volume of the New York Stock

Exchange (“NYSE”) and 1% of the NASDAQ daily volume.

       6.      Biovail is a specialty pharmaceutical company specializing in the development,

manufacture, and marketing of controlled-release medications for the treatment of chronic

medical conditions. Biovail operates facilities in Canada and the United States and employs over

1,700 people worldwide.

       7.      In spring 2003, when Biovail in fact was poised for substantial growth, S.A.C.

Capital and the other defendants launched a devastating attack on Biovail's stock. In furtherance

of their scheme, after having taken short positions, defendants manipulated the market for

Biovail stock and artificially lowered its stock price by, among other things, disseminating

materially false and misleading information concerning Biovail and tortiously interfering with

Biovail's business.




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       8.      One of defendants' primary methods in executing their attack on Biovail's stock

was to “ghost write” negative and false analyst reports concerning Biovail. Defendants issued

these reports through Camelback and Gradient, which purported to provide independent

securities analysis to subscribers.

       9.      In fact, Camelback and Gradient were anything but independent.           Instead,

Camelback and Gradient permitted hedge fund clients such as S.A.C. Capital to author reports --

nearly always negative -- on companies, and then publicly release the report as a product of its

own independent research and analysis. These reports-for-hire were referred to internally at

Camelback and Gradient as “hatchet jobs” and typically were released at the behest of short-

selling hedge funds.

       10.     The attack on Biovail's stock provides a prototypical example of defendants'

abuse of analyst reports -- an abuse all the more shocking in the wake of recent Wall Street

analyst scandals. In June 2003, S.A.C. Capital commissioned a hatchet job on Biovail from

Camelback. S.A.C. Capital provided virtually all of the information and opinions found in the

report, which grossly distorted and misstated the facts concerning Biovail's business and

accounting. The report was merely transcribed by an inexperienced Camelback “analyst” who

had only recently graduated college and held no investment analyst credentials. S.A.C. Capital

instructed Camelback to hold the report for over a week so that S.A.C. Capital and other

defendants could establish short positions in Biovail stock. Camelback then issued the report on

June 20, 2003, falsely representing that the content constituted its own independent, unbiased

analysis that resulted in an “F” grade for Biovail.

       11.     Over the next several weeks, other purportedly independent analysts including

defendant Maris, disseminated, at S.A.C. Capital's direction, negative and false information




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concerning new Biovail drugs, including Wellbutrin XL, and defendants did not stop at false

analyst reports. Through defendant Gerson Lehrman, defendants and those with whom they

were working in concert went so far as to pay doctors to provide quotes to the financial press

falsely implying that Biovail had implemented a program to bribe doctors to prescribe Cardizem

LA. This complete fabrication was disseminated to the financial markets through The Wall

Street Journal and Barron's and subsequently throughout other financial media.

        12.   By the end of July 2003, defendants' attack on Biovail's stock was having its

intended effect: in those six weeks, Biovail's stock price declined 20%. Defendants, however,

were not satisfied. S.A.C. Capital had Camelback issue another negative report at the end of

July, again with a false and misleading description of Biovail's business, including the false

Gerson Lehrman reports of bribery, and an additional negative Camelback report in September

2003.

        13.   At S.A.C. Capital's further instigation, in early October 2003, Maris of BAS

issued two false reports on Biovail based upon the Camelback hatchet jobs. In an attempt to lend

credence to the attacks on Biovail, Maris retained three accounting experts, who he expected

would rubber stamp that attack. When those accountants failed to support his preconceived

conclusions, Maris blatantly misrepresented their findings. Maris's false reports, together with

yet another S.A.C. Capital instigated Camelback hatchet job, led to an additional 14% drop in the

stock price of Biovail by October 2003.

        14.   Similar orchestrated attacks continued during the spring of 2004 by which time

Biovail's stock had been driven down over 50%, its business reputation devastated, its ability to

access capital markets severely curtailed, its ability to do business substantially impaired, and

hundreds of its employees laid off. Investors in Biovail stock were saddled with huge losses,




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while the short-selling defendants reaped enormous profits at their expense.

       15.     Plaintiff brings this class action to recover no less than $4 billion in compensatory

damages that the members of the Class have suffered, as well as punitive damages for

defendants' egregious misconduct.

                                JURISDICTION AND VENUE

       16.     The claims asserted herein arise under and pursuant to Section 10(b) of the

Exchange Act, 15 U.S.C. §§ 78j(b) and 78t(a), and Rule 10b-5 promulgated thereunder by the

Securities and Exchange Commission (“SEC”), 17 C.F.R. § 240.10b-5.

       17.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331 and 1337 and Section 27 of the Exchange Act, 15 U.S.C. §§ 78aa.

       18.     Venue is proper in this District pursuant to Section 27 of the Exchange Act and 28

U.S.C. § 1391(b).

       19.     In connection with the actions alleged in this complaint, defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not

limited to, the mails, interstate telephone communications and the facilities of the national

securities markets.

                                         THE PARTIES

       20.     Plaintiff Guy Del Giudice resides at 12217 Sweetleaf Court, Keeler, Texas. On

August 19, 2003, plaintiff Del Giudice purchased 340 shares of the common stock of Biovail at

the price of $40.91 per share. On October 20, 2004, plaintiff Del Giudice sold his 340 shares of

the common stock of Biovail at the price of $19.32 per share.

       21.     Defendants S.A.C. Capital Associates, S.A.C. Capital Management, and S.A.C.

Capital Advisors, directly or indirectly, operate and manage various hedge funds (including




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defendants S.A.C. Healthco and Sigma), are organized under the laws of Delaware, and maintain

their principal places of business at 72 Cummings Point Road, Stamford, Connecticut.

        22.    Defendant S.A.C. Healthco is a hedge fund organized under the laws of Anguilla,

British West Indies, with its principal place of business at 540 Madison Avenue, New York, New

York.

        23.    Defendant Sigma is a hedge fund organized under the laws of Delaware, with its

principal place of business at 540 Madison Avenue, New York, New York.

        24.    Defendant Steven Cohen is a citizen and resident of Connecticut, and resides at

30 Crown Lane, Greenwich, Connecticut. Steven Cohen is the founder and operator of S.A.C.

Capital Associates, S.A.C. Capital Management, S.A.C. Capital Advisors, Sigma, S.A.C.

Healthco, and various other hedge funds that he owns, controls, or otherwise directly or

indirectly operates. Steven Cohen controls, dominates, and operates such hedge funds without

regard to the putatively separate legal form and existences of each such that each is the alter ego

of the other and of Steven Cohen. In addition, as set forth herein, Steven Cohen and S.A.C.

Capital abused the corporate form by using the entities they control and operate to perpetrate a

fraud and injustice.

        25.    Defendant Healey is a citizen and resident of New York residing at 17 East 17th

Street, New York, New York. During the times relevant to this complaint, he was a manager of

S.A.C. Healthco operating under the direct direction and control of Steven Cohen. Healey has

since left S.A.C. Healthco to form and operate a hedge fund called Healthcor that is, directly or

indirectly, 40% owned by Steven Cohen and the hedge funds he manages.

        26.    Defendant Arthur Cohen is a citizen and resident of Connecticut residing at 67

Old Hill Road, Westport, Connecticut. During the times relevant to this complaint, Arthur




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Cohen, along with Healey, managed S.A.C. Healthco under the direct direction of Steven Cohen.

Arthur Cohen has since left S.A.C. Healthco to form and operate a hedge fund called Healthcor

that is, directly or indirectly, 40% owned by Steven Cohen and the hedge funds he manages.

Prior to working at S.A.C. Healthco, Arthur Cohen was employed at Tiger Management, a hedge

fund engaged in substantial “short selling” of stock that was dissolved on or about March 30,

2000.

        27.   Defendant McCarthy is a citizen and resident of New York residing at 114 East

36th Street, New York, New York. From early 2003 through early 2005, McCarthy worked at

S.A.C. Healthco under the direction of defendants Healey and Arthur Cohen and Steven Cohen.

Prior to working at S.A.C. Healthco, McCarthy worked with defendant Maris at Credit Suisse

First Boston (“CSFB”). In early 2005, McCarthy left S.A.C. Healthco to return to CSFB, where

he is currently employed. (Defendants S.A.C. Capital Associates, S.A.C. Capital Management,

S.A.C. Capital Advisors, Sigma, S.A.C. Healthco, Steven Cohen, Arthur Cohen, Healey, and

McCarthy are collectively referred to herein as the “S.A.C. Defendants” or “S.A.C.”).

        28.   Defendant BAS is a limited liability corporation organized under the laws of the

state of Delaware, with its principal place of business located at 335 Madison Avenue, New

York, New York 10017. Defendant BAS is a registered dealer-broker with the Securities and

Exchange Commission. At all pertinent times, defendant BAS employed defendant Maris as an

analyst.

        29.   Defendant Maris is a citizen and resident of the state of New Jersey residing at

8 Bucklin Road, Colt's Neck, New Jersey.        Maris is the BAS analyst covering specialty

pharmaceuticals, including Biovail, and prior to joining BAS in 2003, Maris worked at CSFB

with defendant McCarthy. At all pertinent times, defendant Maris was an employee of defendant




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BAS, and all actions by defendant Maris were for an on behalf of himself and BAS.

       30.     Defendant Gradient is an Arizona corporation, with its principal places of

business during the time period alleged in this complaint located at 14614 North Kierland

Boulevard, Scottsdale, Arizona and Summit, New Jersey.

       31.     Defendant Camelback is an Arizona corporation, with principal places of business

during the time period alleged in this complaint located at 14614 North Kierland Boulevard,

Scottsdale, Arizona and Summit, New Jersey.             Camelback is wholly-owned, operated,

dominated, and controlled by defendants Gradient, Bettis, and Vickrey without regard to the

putatively separate legal form and existence of each such that each is the alter ego of the other.

In addition, as set forth herein, Gradient, Bettis, and Vickrey abused the corporate form by using

Camelback and the other entities they control and operate to perpetrate a fraud and injustice.

       32.     Defendant Pinnacle is a hedge fund organized under the laws of Arizona, with its

principal place of business located at 14614 North Kierland Boulevard, Suite S-260, Scottsdale,

Arizona.

       33.     Defendant Helios is a hedge fund organized under the laws of Arizona, with its

principal place of business located at 14614 North Kierland Boulevard, Suite S-260, Scottsdale,

Arizona.

       34.     Defendant Hallmark Fund is a hedge fund organized under the laws of Arizona,

with its principal place of business located at 14614 North Kierland Boulevard, Suite S-260,

Scottsdale, Arizona.

       35.     Defendant Bettis is a founder, co-owner, President, and CEO of defendants

Camelback and Gradient. Bettis is a citizen and resident of the state of Arizona residing at 9820

East Thompson Peak Parkway, Unit #608, Scottsdale, Arizona. In addition, Bettis is a founder,




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owner, investor, and manager of various hedge funds and hedge fund advisors, including

defendants Pinnacle, Helios, and Hallmark.

       36.      Defendant Vickrey is a founder and co-owner of defendants Camelback and

Gradient, and an officer and the Editor-in-Chief of Camelback. Vickrey is also a founder,

owner, investor, manager, and advisor of various hedge funds, including defendants Pinnacle,

Helios, and Hallmark. Vickrey is a citizen and resident of the state of California residing at 7345

Corte Tomillo, Carlsbad, California.       (Defendants Gradient, Camelback, Bettis, Vickrey,

Pinnacle, Helios, and Hallmark are collectively referred to herein as the “Camelback

Defendants.”)

       37.      Defendant Gerson Lehrman is a Delaware corporation, with its principal place of

business at 850 Third Avenue, New York, New York. Gerson Lehrman acts as a “matchmaker”

between a network of individuals and entities with experience and expertise in a broad range of

disciplines and clients who seek to consult with those experts.

       38.      Defendant Lehrman is a co-founder of Gerson Lehrman and a former Gerson

Lehrman co-CEO and director. Prior to founding Gerson Lehrman, Lehrman worked for Tiger

Management. Lehrman is a citizen and resident of the District of Columbia residing at 4401

Dexter Street Northwest, Washington, D.C.

       39.      Defendant Duff is a managing director of Gerson Lehrman. Duff resides at 275

Durham Place, Glen Rock, New Jersey. Prior to joining Gerson Lehrman, Duff was a Senior

Managing Director and Management Committee member at Tiger Management where he

worked closely with Defendant Arthur Cohen. (Defendants Gerson Lehrman, Lehrman, and

Duff are collectively referred to herein as the “Gerson Lehrman Defendants.”)

       40.      The names and capacities of defendants Does 1 through 50 are presently unknown




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to plaintiff. Plaintiff is informed and believe that Does 1 through 50 include the limited and

general partners of the other defendants, including the S.A.C. Defendants, as well as affiliates,

co-venturers, co-conspirators, and/or aiders and abettors of the other defendants. Plaintiff also is

informed and believes that Does 1 through 50 include unknown Canadian and American

financial analysts and portfolio managers who participated in the scheme, enterprise, and

misconduct alleged in this complaint.

                              CLASS ACTION ALLEGATIONS

       41.     Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure, on behalf of a Class, consisting of all those who sold the securities of

Biovail after June 5, 2003 (the “Class Period”), and who were damaged thereby. Excluded from

the Class are defendants, their officers and directors at all relevant times, members of their

immediate families and their legal representatives, heirs, successors or assigns and any entity in

which any defendant or group of defendants has or had a controlling interest.

       42.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Biovail shares were actively traded on the NYSE

and the Toronto Stock Exchange (“TSX”).          While the exact number of Class members is

unknown to plaintiff at this time and can only be ascertained through appropriate discovery,

plaintiff believes there are hundreds or thousands of members of the proposed Class. Record

owners during the Class Period and other members of the proposed Class may be identified from

records maintained by Biovail or its transfer agent and may be notified of the pendency of this

action by mail, using the form of notice customarily used in securities class actions.

       43.     Plaintiff's claims are typical of the claims of the members of the Class as all

members of the Class have been similarly affected by defendants' wrongful conduct in violation




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of the law, as set forth herein.

        44.     Plaintiff will fairly and adequately protect the interests of the members of the

Class and have retained counsel competent and experienced in class action and securities

litigation.

        45.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                a.      whether the defendants' actions constitute violations of the United States

securities laws;

                b.      whether statements made by the defendants to the investing public

misrepresented material facts about the business, operations, and management of Biovail;

                c.      whether statements made by the defendants misrepresented that certain

defendants were providing independent securities analysis when, in fact, their analysis was not

independent and was intended to aid and assist specific market participants; and

                d.      to what extent the members of the Class have sustained damages as a

result of defendants' wrongdoing, and the proper measure of those damages.

        46.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all Class members is impracticable.

Furthermore, as damages sustained by individual Class members may be relatively small, the

expense and burden of individual litigation make it impossible for members of the Class to

individually redress the wrongs done to them. There will be no difficulty in the management of

this action as a class action.




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                                   STATEMENT OF FACTS

A.     The Illegal Scheme

       47.     This action arises from a massive, illegal and continuing stock market

manipulation scheme, which has targeted and severely harmed Biovail's investors and which has

resulted in immense ill-gotten profits for S.A.C. and the other defendants.

       48.     A critical element of the scheme was and remains “short-selling.” A “short

seller” or “short” borrows stock from a lender and sells the borrowed stock, expecting that the

price of the stock will decline, and that he will therefore be able to purchase the stock later at a

lower price, return the stock to the lender and pocket the profit. The scheme also employed

various “short-equivalent” trading strategies -- such as the purchase of “put” options -- that

likewise profited from future declines in the stock price of targeted companies. Under the

scheme, the defendants, in concert with one another and others, drove down the price of stocks

they had shorted or in which they had assumed short equivalent trading positions by, among

other means, disseminating materially false and misleading information, orchestrating negative

news articles, commissioning, “ghost writing” or influencing negative reports from biased and

corrupted stock analysts, and using such manufactured misinformation to engender investor

suspicion and legal and regulatory scrutiny.

       49.     The defendants, in concert with one another and others, also exploited advance

access to material non-public confidential information that was shared with them in violation of

various fiduciary relationships or otherwise misappropriated, including, for example, information

concerning certain FDA drug approval decisions, the timing of company product launches or

business developments, trading and other investment activities of clients, and the timing and

substance of stock analyst recommendations. The defendants traded on such material non-public




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information by shorting stocks before the release of unfavorable information, reducing short

positions and/or taking long positions before the release of positive information, and executing

various trading strategies otherwise designed to exploit trading volume and volatility

surrounding the release of the anticipated information. For example, as set forth in detail below,

the defendants, in concert with one another and others, ghost-wrote purportedly independent

analyst reports which were then held before release until the defendants could take short and

other trading positions based on the report's expected impact upon release and also regularly

received advance notice of the timing and substance of other analyst reports -- which were

similarly tailored to suit the defendants' trading objectives -- to enable them to likewise “front

run” the release of those reports.

       50.     This scheme targeted many dozens and likely hundreds of publicly-traded

companies, including Biovail. These targeted companies suffered enormous damage as a direct

consequence of the scheme, which directly and materially interfered with each company's ability

to conduct business, implement strategic plans, secure necessary capital, and maintain employee

morale, productivity, and recruiting.    In addition, and equally severe, the scheme inflicted

enormous financial harm on investors in the targeted companies who collectively lost many

billions of dollars as a direct consequence of this stock manipulation scheme -- billions of dollars

lost to the defendants who reaped correspondingly enormous profits at the expense of those

innocent investors.

B.     The Criminal Enterprise

       51.     This illegal stock manipulation scheme was devised and executed by an

association, associations, and associations-in-fact comprised of, among others, the S.A.C.

Defendants, the Camelback Defendants, the Gerson Lehrman Defendants, defendant Maris,




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defendant BAS, the Doe defendants, and others known and unknown (collectively, the

“Enterprise”), including the following:

          1.    The S.A.C. Defendants

          52.   S.A.C. derives its name from the initials of its founder and leader Steven A.

Cohen. Steven Cohen is known in the industry as the “most powerful trader on Wall Street

you've never heard of” because of the “highly secretive and stupendously successful S.A.C.

funds he controls.” Through S.A.C., Steven Cohen collectively controls no less than $7 billion

and regularly accounts for 3% of the NYSE daily volume and 1% of the NASDAQ daily volume.

These investment dollars are channeled through several different “portfolio companies” or funds

-- including a core fund, a global diversified fund, a health-care fund, and defendant Sigma fund

(comprised of Steven Cohen's personal monies), all of which Steven Cohen manages in a highly

integrated and hands-on fashion.

          53.   Steven Cohen's market influence, however, extends much further than the S.A.C.

funds he directly controls. In addition to the billions he controls directly through S.A.C., he has

also invested billions more in non-S.A.C. funds, including funds formed by former S.A.C.

managers who are required to agree as a condition of S.A.C. employment to permit Cohen to

hold up to a 50% interest in any hedge funds they form after leaving S.A.C.         Consequently,

Cohen personally has one of, if not the, most powerful market-moving capabilities on Wall

Street.

          54.   In the first 12 years since he formed S.A.C. Capital Advisors, Steven Cohen had

regularly generated incredible returns in the range of 40% per annum.              Reflecting this

extraordinary performance, investors pay him a 50% success fee, far above the 20% industry

standard. Consequently, Steven Cohen's annual S.A.C. management fee regularly has exceeded




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$400 million, which is in addition to profit he earns on his own monies invested in Sigma and

other S.A.C. and non-S.A.C. funds. As is explained hereafter, the notable exception to S.A.C.'s

extraordinary success occurred in 2002, when its returns declined from approximately 40% per

annum to approximately 14% and Steven Cohen's fees plummeted to “only” $100 million.

       55.     Unlike most hedge funds, S.A.C. seeks no volume discount on its enormous

trading costs and commissions, and consequently pays over $150 million in annual commissions

-- making it one of Wall Street's top ten trading customers. In addition, S.A.C. frequently

purchases secondary offerings, that include substantial built-in brokerage commissions for banks,

and thereby further increases S.A.C.'s already substantial financial leverage and influence.

Cohen uses this enormous financial leverage to support S.A.C.'s trading strategies by demanding

access to material non-public information from the financial institutions with whom S.A.C. does

business, including non-public inside information concerning public companies and other clients

to whom those institutions owe fiduciary and other duties of non-disclosure, and the substance

and timing of reports and recommendations being issued by analysts for those institutions.

Financial institutions and their employees understand -- because S.A.C. has told them -- that a

failure to provide such information will result in the loss of S.A.C.'s substantial business.

       56.     S.A.C. uses its enormous financial leverage to not only extract and trade on

material non-public information but also to actually dictate the substance and timing of certain

material information being disseminated to the market. For example, S.A.C. regularly uses its

substantial financial leverage to direct and influence the analysis and recommendations of

purportedly independent stock analysts and the time such analysis and recommendations are

issued to the market, without any disclosure of the material conflict of interest reflected by its

leverage and influence.      Like S.A.C.'s demand for material non-public information, it is




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understood that failing to provide influence and control over the substance and timing of analyst

reports will result in the loss of S.A.C.'s substantial business.

        57.     To maximize the impact of its access to material non-public information and

control and influence over the substance and timing of analyst reports, S.A.C. focuses on thinly-

traded, small to modestly capitalized stocks in volatile sectors like pharmaceuticals and bio-

technology. Stock prices in these sectors are more easily manipulated and special advanced

access to, and influence over, information is more readily exploited because of the lower market

capitalizations and trading volumes in these sectors, as well as the fact that stock prices depend

heavily on intangibles and unknowns such as the outcomes of clinical trials and new product

launches. S.A.C. rarely invests in such companies long-term but instead pursues short-selling or

event-driven trading strategies based on S.A.C.'s access to -- and control over -- material non-

public information, and the substance and timing of stock analyst reports.

        58.     To maximize the use of S.A.C.'s substantial market influence, under Steven

Cohen's direction, S.A.C. places extreme pressure on its traders, managers, employees, and

agents to produce at all costs. S.A.C. generates such intense pressure by, among other things,

imposing what is described internally at S.A.C. as an “eat what you kill” compensation scheme

under which compensation depends on individual trading performance and not -- as is the

industry norm -- on the fund's overall performance. Those who fail to produce are quickly

terminated: “At S.A.C., you either perform or you're dead,” according to one public report by an

insider. Such policies ensure that those who remain at S.A.C. are willing and capable of doing

whatever it takes to secure the extraordinary performance Steven Cohen demands.               The

enormous pressure to perform at S.A.C. was particularly acute in 2003 after Cohen had

experienced what insiders called his “very disappointing” 14% returns and $100 million in




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management fees in 2002.

       59.     From spring 2003 to the present -- as it had in the past -- the S.A.C. Defendants

orchestrated short-selling “bear attacks” on numerous publicly traded companies, including

Biovail. They prosecuted these attacks on Biovail and other targeted companies by, among other

things, paying, pressuring, and otherwise influencing purportedly independent analysts to

disseminate materially false and misleading information about the business, accounting, and

corporate governance of these targeted companies. These materially misleading misinformation

campaigns devastated the targeted companies by tarring their business reputations, eroding

investor confidence, and devastating management and employee morale and focus, and thereby

artificially driving down the stock price to the enormous benefit of the short-selling S.A.C. and

the extreme detriment of the companies and their legitimate investors.

       2.      The Camelback Defendants

       60.     In the wake of the scandals, lawsuits, and regulatory investigations involving

corrupt stock analysts issuing untrue reports to support their financial institution's investment

banking business, a new niche of third-party boutique firms emerged claiming to provide

purportedly “independent” stock analysis. Defendants Bettis and Vickrey attempted to exploit

this emerging market niche by forming, owning, and operating defendants Camelback and

Gradient.    Bettis and Vickrey promoted Camelback and Gradient as, among other things,

“independent research firm[s] providing both analyst-written research work (Earnings Quality

Analytics and Equity Incentive Analytics) and quantitative stock ratings for institutional clients

(Gradient Factor Suite).”     Consistent with this description, the Camelback Defendants

represented that their reports and analyses -- which purported to focus on earnings and forensic

accounting issues -- were the work product of an experienced staff of CPA's, CFA's, M.B.A.'s




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and Ph.D.'s, “reflect[ed] [their] judgment” and were completely “independent” and free from

“bias.”     Indeed, they applied for and received certifications from industry organizations

representing that they were independent of investment banking services, money management, or

customized research services. In addition, they represented that all of their clients had equal

access to their reports, which they represented were released to all clients simultaneously

immediately upon completion.

          61.   In truth, however, the Camelback Defendants' service was a sham and such

representations were false. Their quantitative models -- which purported to calculate investment

ratings based on various financial data and mathematical programs -- were knowingly operated

with unreliable and incomplete data feeds and without the most fundamental programming

safeguards necessary for basic quality control and reliability. Despite repeated warnings from

internal and external experts concerning the need for such stringent data quality safeguards,

Bettis and Vickrey refused to implement such safeguards because doing so would have interfered

with one of their central marketing objectives of maximizing the number of companies covered

(however badly) so as to provide the greatest possible likelihood that they could point to

successful (albeit truly random) price movement predictions. Indeed, employees referred to the

Camelback Defendants' quantitative models internally as “the random number generator”

because they typically got as many calls wrong as right. Indeed, defendant Bettis quickly

abandoned the use of Camelback's core “earnings quality” quantitative model in his management

of defendants Pinnacle, Helios, and Hallmark, even though the Camelback Defendants continued

to promote that model to the investors as an effective stock selection tool.

          62.   The Camelback Defendants' qualitative analyst reports were even more

misleading. As a threshold matter, the purported staff of so-called “analysts” preparing these




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reports were not experienced CPA's, CFA's, M.B.A.'s, or Ph.D.'s as represented but recent

college graduates with no meaningful, let alone remotely adequate, experience in forensic

accounting or investment analysis. The Camelback Defendants required no such experience,

however, because, like the quantitative models, they were not interested in the accuracy of their

reports but instead only in their ability to generate business by marketing a large library of

reports so as to also secure putatively correct (albeit entirely random) performance predictions.

       63.     In addition, the reports were hardly the product of “independent” unbiased

accounting or other analysis for a host of reasons. First, the Camelback Defendants lied to

customers and other market participants that they did not manage money. In fact, while issuing

their purportedly independent and unbiased research, Bettis and Vickrey were also managing the

Pinnacle, Helios, and Hallmark hedge funds from the offices of Camelback and Gradient and

trading in the very stocks they were covering through those funds and personally. Indeed, one

desk in the Camelback/Gradient office had a phone for Camelback and Gradient research

customers at one end and a phone at the other end of the same desk for clients of these hedge

funds Bettis, Vickrey, and other Camelback and Gradient employees were managing.

       64.     Furthermore, the reports they issued were almost exclusively negative to suit their

core business objective of servicing short-selling hedge funds interested in driving stock prices

down. In order to secure such clients, the Camelback Defendants permitted hedge funds to

“ghost write” so-called “custom” reports that were referred to internally by certain Camelback

employees and externally by certain hedge fund customers as “hatchet jobs.” When a custom

report was ordered, the hedge fund client told the putative Camelback “analyst” what issues to

write about and what to say about those issues.        The “analyst” contributed no meaningful

analysis to the report but merely served as a scrivener of the client's stated position. That the




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reports were not legitimate unbiased research or reflected the Camelback Defendants' true beliefs

or honest opinions was apparent from numerous facts, including the fact that the short-selling

hedge funds dictated all or substantially all of the information and conclusions contained in the

reports, and target companies were never asked to comment on, explain, or clarify any of the

concerns or uncertainties frequently raised by the reports.

       65.      The Camelback Defendants also misrepresented that reports were issued

simultaneously to all clients upon completion. In fact, once completed, a customized hatchet job

would be held until the commissioning hedge fund instructed that it be released. This delay was

to allow the paying hedge fund and others it was working with (and the hedge funds controlled

by Bettis and Vickrey, including defendants Pinnacle, Helios, and Hallmark, as well as Bettis

and Vickrey personally) to front-run the reports by taking short and other positions in

anticipation of their release contrary to their representations to their clients. Only after the hedge

fund instructed the Camelback Defendants to release the reports were they sent to the other

Camelback/Gradient clients.

       66.      In promoting their “custom” service to short-selling hedge funds, the Camelback

Defendants touted their ability to amplify the impact of the negative reports through various

contacts.    In order to maximize the negative impact of these putative analyst reports, the

Camelback Defendants would also send the reports to the targeted company's largest

shareholders through a subscription service called BigDough.com and to a stable of financial

media outlets and journalists receptive to rebroadcasting the content of the reports. Indeed, the

Camelback Defendants aggressively courted media outlets to promote their analysis and the

interests of their short-selling clients. For example, Camelback/Gradient clients and defendants

David Rocker and Rocker Partners own 10% of the influential internet site TheStreet.com, which




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frequently cited Camelback/Gradient reports, including those that had been ghost written or

otherwise influenced by short-selling hedge funds including Rocker Partners. Moreover, current

MarketWatch contributor Jon Markman was a paid investment advisor for the Pinnacle hedge

fund operated by the Camelback Defendants, promoted their analysis in his writing, and co-

authored a subscription stock selection newsletter with Bettis.       Likewise, other influential

financial columnists had close relationships with Vickrey, remote access to Camelback's website

and internal data, and frequently spoke with Vickrey and Bettis while writing about companies

about which the Camelback Defendants had issued “customized” reports for short-selling hedge

funds.

         67.   Well-informed shareholders of targeted companies who received unsolicited

copies of these bogus research reports frequently responded with outrage at the report's obvious

reckless disregard for the truth. In many other cases, however, the reports had the desired effect

of causing shareholders to reduce or liquidate their positions. For example, as set forth below,

hatchet jobs S.A.C. commissioned on Biovail caused one of its top three institutional

shareholders to liquidate its entire position and other substantial strain on Biovail's investor

confidence.    The Camelback Defendants celebrated these developments internally as great

achievements and used them to demonstrate the effectiveness of their custom hatchet jobs to

other hedge funds from whom they were seeking business.

         68.   The Camelback Defendants permitted hedge funds to use their names to ghost-

write custom reports for several reasons. First, custom “hatchet jobs” provided a source of

revenue and business development that they realized was not otherwise available to them for

truly independent and objective “forensic accounting” analysis. Second, participating in such

manipulative schemes allowed them to also “front-run” the market movement that their reports




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and the efforts of these powerful short-selling hedge funds would cause. Third, doing work for

major market participants such as S.A.C. made it easier to promote their services to other

potentially interested financial institutions.

        69.     This marketing strategy was successful. As set forth below, after a series of

S.A.C. hatchet jobs on Biovail and other pharmaceutical and biotechnology companies that were

ghost written by S.A.C. Healthco manager and defendant McCarthy, Steven Cohen personally

called the Camelback Defendants to express his gratitude for their work and S.A.C.'s intention to

expand the relationship going forward. In addition, the Camelback Defendants began providing

custom hatchet jobs for numerous other hedge funds. These hatchet jobs, ghost written or

substantially influenced by short-selling hedge funds, include reports on, among others, Celgene,

Cardinal Healthcare, Inc., Intermune, Inc., ImPath, Inc., Biolase, Take-Two Entertainment, Leap

Frog, King Pharmaceuticals, Inc., Accredo Health, Inc., Swift Transportation Co.,

Overstock.com, and Taser.

        70.     Numerous employees of the Camelback Defendants raised concerns about the

misrepresentations being made about analyst credentials, the mischaracterized lack of any

financial interest in the stocks being covered, the lack of reliability in the trading models, the

lack of objectivity in the customized reports, and the holding of reports for select hedge fund

clients. Although defendants Vickrey and Bettis acknowledged internally the inappropriateness

of such practices when confronted by such complaints, the only action they took was to

ultimately orchestrate the discharge (on complete pretenses) of those raising such objections to

silence discord concerning what they had determined would be a central part of the

Camelback/Gradient business.




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       3.      David Maris and BAS

       71.     David Maris is currently the analyst covering specialty pharmaceuticals for

defendant BAS. Prior to joining BAS in 2003, Maris worked at Credit Suisse First Boston

(“CSFB”) with defendant McCarthy. Maris has built a reputation as a powerful “sell-side”

securities analyst whose negative reports can devastate a company's stock price. This reputation

is based in part on his critical coverage of Irish pharmaceutical company Elan, whose financial

troubles and declining stock price made enormous profits for short-selling hedge funds,

including Tiger Management at which S.A.C. Healthco manager Arthur Cohen and Gerson

Lehrman's Thomas Lehrman and James Lyle worked together at the time. Maris is a favorite of

short-selling hedge funds who view him as a strong ally and voice in their efforts to drive down

stock prices in targeted companies by disseminating negative information and analysis about

those companies. Maris also views these short sellers as allies in that they are frequently large

clients of BAS, provide him with material non-public information for use in his reports and

otherwise with his BAS clients, and because it is in both Maris's and the short sellers' interests to

see the price decline in companies they have targeted for criticism or sold short, respectively.

       72.     After Maris joined BAS and McCarthy began working at S.A.C. Healthco, they

continued to work together and collaborate with respect to the work McCarthy was doing at

S.A.C. One of the stocks they collaborated on was Biovail, which Maris understood S.A.C. and

other larger hedge fund clients of BAS were targeting for a prolonged short-selling attack

beginning in or about June 2003. As part of their collaboration, Maris provided McCarthy with

special advanced access to, and input into, his research reports and internal analysis and advance

notice of the timing and substance of those reports before they were issued. In addition, he

disseminated a stream of grossly misleading information and analysis in frequent written and




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oral reports, on the internet, at investor conferences, and in direct and indirect communications

with investors, the press, and regulators.

       73.     Maris undertook such actions because (a) he hoped to be credited and

compensated by BAS with bringing in or maintaining lucrative hedge fund business, including

from, among others, S.A.C., Itros Capital, SuttonBrook Capital, Ram Partners, and Ziff Brothers

Investments, all of whom he understood were shorting Biovail; (b) these and similar short-selling

hedge funds shared with him material non-public information they had secured by exercising

their substantial financial leverage that he could use to make his recommendations appear more

prescient; and (c) he understood that Biovail was about to be the subject of a concerted short

attack by these and other powerful hedge funds and saw enlisting in this assault as an opportunity

to repeat his career-making performance with Elan and further solidify his self-proclaimed title

of “the Howard Stern of Wall Street.”

       4.      The Gerson Lehrman Defendants

       74.     Gerson Lehrman promotes itself as a company that “provides customized research

services for knowledge-driven businesses” and is known in the hedge fund industry as a

“matchmaker” and information conduit. In exchange for substantial sums of money, Gerson

Lehrman puts hedge funds in contact with, or communicates on behalf of hedge funds with,

numerous persons and entities in various disciplines. Although such services can constitute

entirely legitimate due diligence, Gerson Lehrman also frequently facilitates both the illegal

collection of material inside information for trading purposes and the dissemination of false and

misleading information for illegal market manipulation purposes.

       75.     For example, Gerson Lehrman regularly matches hedge funds with, or

communicates on their behalf with, doctors involved in clinical trials, the results of which will




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determine whether a pharmaceutical will receive FDA approval or not. From these discussions,

Gerson Lehrman and its hedge fund clients frequently secure material non-public information

concerning the likelihood of FDA approval and use that information in their trading strategies in

that company's stock. Conversely, Gerson Lehrman regularly works with hedge funds that are

shorting stocks to manufacture negative information about the companies being shorted and

disseminate that information into the market to manipulate a company stock price downward.

       76.       With respect to Biovail, Gerson Lehrman on behalf of its hedge fund clients

orchestrated the publication of at least two negative and inaccurate articles that appeared

virtually simultaneously in The Wall Street Journal and Barron's concerning the Cardizem LA

launch, a product central to Biovail's strategic business plan. Although the articles purported to

be the product of independent journalistic research and honest medical opinions, the doctors

critically quoted in the articles were -- unbeknownst to the authors -- employed by hedge funds

(most or all through Gerson Lehrman). Indeed, the most critical doctor quoted inexplicably

appeared in both articles and misrepresented in each that he had been approached by Biovail and

asked to accept payments (i.e., bribes) to prescribe Cardizem LA.

       77.       In addition to its affiliated activities on behalf of hedge funds, the Gerson

Lehrman Defendants engage in front-running and insider trading -- individually and through

Gerson Lehrman Brokerage Services -- by engaging in stock trading based on the information

they receive on behalf of, and from, clients, and their understanding of the clients' expected

trading plans.

       5.        Perry Capital

       78.       Perry Capital is a hedge fund operating in New York, New York. Perry Capital is

a client of the Camelback Defendants and Gerson Lehrman. During the summer of 2003, Perry




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Capital acquired more than one million put options on Biovail stock and was paying doctors

through Gerson Lehrman who were being quoted critically in the negative Barron's and Wall

Street Journal articles concerning Cardizem LA. In January 2006, the SEC notified Perry Capital

that it was contemplating an enforcement action based on Perry Capital's manipulative short-

selling of securities.

        6.      The Rocker Defendants

        79.     David Rocker is the primary owner and manager of hedge fund Rocker Partners

operating in Millburn, New Jersey. Rocker Partners is a Camelback client that has ordered

“hatchet jobs” to support short positions on numerous companies including Overstock.com, and

participated in the manipulative short-selling by other Enterprise members. David Rocker is also

the largest shareholder in the financial news and commentary website TheStreet.com, which

frequently rebroadcasts reports and analysis of the Camelback Defendants -- including those

commissioned by Rocker on companies he and his fund are shorting -- and frequently quotes

Bettis and Vickrey concerning companies being shorted by defendants and other members of the

Enterprise.

        7.      Other Enterprise Members

        80.     The Enterprise also includes other members known and unknown who

participated in and facilitated the scheme, including but not limited to Canadian stock analyst

Andre Uddin, who collaborated with the S.A.C. Defendants and the Camelback Defendants with

respect to Biovail, Itros Capital, SuttonBrook Capital, Ram Partners, and Ziff Brothers

Investments, all of which collaborated closely with Maris and in some cases the Camelback

Defendants.




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C.      Biovail

        81.     Biovail is Canada's largest pharmaceutical company based on market

capitalization. At times relevant to this complaint, it developed and marketed products in the

cardiovascular, central nervous system, and pain management therapeutic areas, and had

particular expertise in oral controlled, extended-release drug delivery technology. At times

relevant   to     this   complaint,   Biovail's   product   portfolio   contained   over twenty-five

pharmaceuticals including hypertension drugs Cardizem CD and Cardizem LA; angiotension

converting enzyme inhibitors (Vasotec and Vaseretic); Ultram ER; topical herpes treatment

Zovirax; and extended release anti-depressant Wellbutrin XL. Through early 2002, Biovail had

predominately marketed its products in the United States by licensing them to U.S.-based third

party marketing organizations.          Based on this successful business model and ongoing

opportunistic acquisitions of new product rights, Biovail grew steadily, with revenues increasing

from $112 million in 1998 to $788 million in 2002.

        82.     In early 2002, Biovail was again poised for growth and was developing its own

sales and marketing capability that would provide a fully-integrated business platform for

exponentially greater future growth. Central to these immediate and longer-term objectives was

Biovail's planned launch of an improved version of hypertension drug Cardizem CD, which was

called Cardizem LA.           The financial markets considered Cardizem LA financially and

“psychologically critical” to Biovail for at least two reasons. First, a successful Cardizem LA

launch would further substantiate Biovail's controlled release technology and department

strategy. Second, a success would substantially blunt if not reverse the anticipated erosion in

Cardizem CD sales from increasing generic competition. Third, Cardizem LA was slated to be

Biovail's first substantial effort at fully-integrated operations.




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       83.    Given the critical importance of the Cardizem LA launch, in the summer 2002

Biovail retained the international consulting firm of McKinsey & Company (“McKinsey”) to

assist in devising a successful product launch. McKinsey's brief was broad and its efforts

substantial. It assembled a full-time on-site project team consisting of McKinsey professionals

and Biovail representatives and immediately assumed definitive hands-on management control

over all aspects of the Cardizem LA launch, including responsibility for developing sales, and

operational strategies, reorganizing Biovail's sales forces, and centralizing that force at the

headquarters of BPI in Bridgewater, New Jersey.

       84.    By summer end, McKinsey had determined that Cardizem LA's long-term success

would be substantially improved by a post-launch clinical global trial research study that would

gather real-world clinical data demonstrating its effectiveness.      Because Biovail had no

experience in such programs, McKinsey recommended that it retain a firm that did. After

considering proposals from leading firms in the field, McKinsey recommended retaining

Quintiles Transactional Corporation (“Quintiles”) because it was the preeminent firm in the field

with the most relevant experience.     Biovail accepted that recommendation and authorized

Quintiles to develop every element of the clinical experience research program. As it had with

McKinsey, the company made clear it intended to rely on Quintiles' recommendations once they

had been fully reviewed, vetted, commented on, and approved by McKinsey.

       85.    Quintiles ultimately recommended a program whereby physicians matching

certain profiles could participate in a Cardizem LA clinical experience research study involving

up to 15 of their patients, each of whom would receive coupons for a free supply of the drug for

participating in the program. Quintiles also informed Biovail that participating physicians and

staff should be offered fair market compensation for the time they spent administering the




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program and compiling and recording the requested data. Consequently, with the advice of

McKinsey and other outside legal and medical experts, the program provided a $250

administrative fee to physicians for completing the baseline questionnaire and consulting

agreement, up to no more than $1,000 for the physician's participation assuming a maximum of

15 patients entered and completed the program (earned in installments as program milestones

were attained), and an additional $50 for office personnel. The clinical experience research

program was called “Proving LA through Clinical Experience” or “PLACE” for short.

       86.     After the extraordinary effort and costs developing and vetting the PLACE

program, Biovail announced in March 2003 that Cardizem LA would be launched the following

month. At that launch, the PLACE program and Cardizem LA's importance to Biovail's future

were emphasized. With the Canadian launch the previous month of an improved version of

Teveten (Teveten HCT), an April Cardizem LA launch, a May acquisition of Ativan, the July

launch of Zovirax cream, and the expected imminent approval and launch of other new and

improved products, especially an extended-release version of anti-depressant Wellbutrin

(Wellbutrin XL), Biovail was uniquely poised for substantial growth and the start of fully-

integrated operations. Indeed, the market's reaction to these many positive developments pushed

Biovail's stock price to a 52-week high of over $50 in early June 2003 with analysts calling it “an

exciting growth play,” predicting it would hit $60 in the next year, and rating it “accumulate.”

D.     The Biovail Bear Raid

       87.     As Biovail's stock price rose to a 52-week high, the defendants targeted Biovail

for an illegal short-selling attack. The defendants targeted Biovail because of its rising stock

price and the fact that it was particularly vulnerable to the defendants' scheme due to its moderate

market capitalization and trading volume, volatile market sector, business complexity, and the




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importance of its new product launches and associated strategic initiatives.         Under these

circumstances, the defendants understood that it could cause a substantial decline in Biovail's

stock price and generate substantial trading volatility and volume by manufacturing false

concerns and doubts in the market about Biovail's business, accounting, and products.

       88.     Accordingly, the defendants commenced a concerted misinformation campaign in

which its members disseminated bogus analyst reports; manufactured grossly misleading and

untrue press; spread false rumors and misinformation about Biovail's business fundamentals,

accounting, and insiders; and took various steps with that misinformation to generate regulatory

scrutiny. Central to the scheme was the plan to use trumped-up false and misleading criticisms

of Biovail's accounting and business practices to undermine investor confidence despite strong

business prospects that the defendants could not effectively assail. Defendants that took the lead

in this campaign were, among others, the S.A.C. Defendants, the Camelback Defendants, Maris,

Perry Capital, and the Gerson Lehrman Defendants.

       1.      The Bogus June Camelback Report and Regulatory Rumors

       89.     The scheme to undermine investor confidence in Biovail and its business by

spreading unfounded criticisms about its accounting and business practices began in or around

Spring 2003. These efforts initially manifested themselves in various false and misleading

market rumors that began to appear at that time, including rumors of non-existent investigations

into Biovail's accounting and negative rumors concerning Cardizem LA sales practices. At the

same time, S.A.C. and the Camelback Defendants agreed to issue putative Camelback research

reports highly critical of Biovail's accounting and business that would actually be ghost-written

by defendant McCarthy on behalf of S.A.C. In early June, McCarthy dictated virtually all of the

information and opinions to be included in the first of these Biovail “hatchet jobs” to a young




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inexperienced Camelback “analyst” with no investment analyst credentials or material forensic

accounting experience. A draft report containing McCarthy's dictated analysis bearing a legend

indicating that it reflected the client's position was sent to McCarthy for additional comment and

approval. After McCarthy made additional edits, a final report was prepared that was virtually

identical to the draft with the legend identifying S.A.C.'s role deleted so that the final report

reflected only that it was a product of the Camelback Defendants' purportedly independent

research.

       90.     McCarthy instructed the Camelback Defendants, and they agreed, to hold the

report for approximately 3-7 days so that S.A.C. and other members of the Enterprise, known

and unknown, could establish short or short-equivalent positions and other trading strategies in

anticipation of the report's release. After SAC, the Camelback Defendants, and other Enterprise

members had taken their Biovail short or short-equivalent positions, on June 20, 2003, McCarthy

instructed Camelback to issue the report -- which assigned Biovail an “F” grade based on false,

misleading, and unfounded accounting criticisms.

       91.     The putative Camelback report on Biovail was materially false and misleading in

numerous respects, including but not limited to the following. First, the report was falsely

portrayed as the product of Camelback's unbiased and objective selection process and analysis,

when in fact it was generated at the direction of, and written by, S.A.C. for the purpose of

driving the price of Biovail stock down. Second, the report was not being released immediately

and simultaneously to all of Camelback's subscribers as Camelback represented, but was instead

being released only after S.A.C. (and the Camelback Defendants) had taken their short positions.

       92.     Finally, the report's purported conclusions lacked any reasonable or factual basis,

did not reflect the honestly held opinions of the Camelback Defendants or any research, let alone




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independent unbiased research, but was instead based on a series of grossly distorted and

materially misleading factual assertions and opinions made for the sole purpose of advancing

S.A.C.'s market manipulation objective.       These materially false, misleading, biased, and

unfounded assertions included, but were not limited to, the following:

       •       The report misrepresented without any reasonable factual basis that Biovail's
               “strategy to transform the company into a fully-integrated pharmaceutical firm”
               might be “unraveling” and “running out of steam” because “revenue growth
               slowed dramatically in 2002 as a result of declining product sales.” In fact,
               revenue growth in 2002 was 35.1% higher than in 2001, product sales actually
               grew by 24% from 2001, and the company was in the process of launching four
               major new products as part of the strategic transformation the report falsely
               claimed was “unraveling.”

       •       As further support for the false assertion that the transformation was “running out
               of steam,” the report misrepresented without any reasonable good faith basis that
               Biovail's revenue mix was deteriorating without mentioning that the imminent
               new product launches would materially improve that revenue mix.

       •       The report misrepresented without any reasonable factual basis that Biovail's
               research and development (“R&D”) commitment was declining when in fact such
               expenditures had increased from $17.5 million in 1998 to $52 million in 2002
               with projections for 2003 between $75 million and $90 million.

       •       The report misrepresented without any reasonable factual basis that this non-
               existent decline in R&D expenses would substantially limit Biovail's ability to
               grow organically by ignoring, among other things, the fact that Biovail had
               launched Cardizem LA in April, and was scheduled to launch Zovirax Cream in
               July and Wellbutrin XL in Q3, 2003. In addition, the report opined without any
               good faith basis or even any explanation that the 72% increase in R&D expenses
               in the most recent quarter and projected $75 to $80 million in 2003 would be “too
               little, too late.”

       •       The report misrepresented without any reasonable factual basis that Biovail's
               R&D expenditures were declining as a percentage of its revenues and that this
               evidenced a waning commitment to research and a “significant competitive
               disadvantage.” This assertion was materially false and misleading because it
               included in the ratio revenues derived from acquired products for which R&D
               costs had been expended prior to the acquisition and could not be recorded as
               Biovail R&D expenses under Generally Accepted Accounting Principles
               (“GAAP”). Contrary to the report's false assertion, Biovail's R&D expenses as a
               percentage of non-acquired product revenue were increasing dramatically as was
               R&D and amortization as a percentage of all revenue. Both of these ratios, which


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            fairly and accurately depict the relationship between Biovail's R&D and revenues,
            were omitted from the report.

      •     That the omission of such ratios was the product of a bad faith effort to distort
            Biovail's accounting is evidenced by the fact that the report later accuses Biovail
            of not properly including those same acquired R&D expenses in its earnings
            analysis, even though GAAP prohibited any such inclusion. The source of this
            criticism was not an honestly held belief in the assertion but rather a committed
            bias to skew the analysis in a way necessary to generate a negative result.

      •     The report misrepresented without any reasonable factual basis that Biovail's
            R&D expenditures as a percentage of revenue lagged its “peers” and thus put
            Biovail at a competitive disadvantage. This analysis was materially false and
            misleading because the purported “peers” used for the comparison were not
            remotely approximate comparables for Biovail since their business models were
            fundamentally different. A reasonable peer analysis would have included
            companies such as Biovail competitor Andrx with whom Biovail's R&D
            expenditures were completely in line. Moreover, the report's assertion was false,
            misleading and unfounded because if acquired R&D expenses were included in
            the metric -- as the report elsewhere did where it had a negative impact -- Biovail
            would have had one of the highest commitments to R&D as a percentage of
            revenue.

      •     The report misrepresented without any reasonable factual basis that product
            revenues were materially declining, and the report failed to mention the
            substantial increase in revenue that would accompany the four new products
            being launched at or about that time. Indeed, to justify this misleading omission,
            the report claimed one of those new launches had already begun and was faltering
            when in fact it would not begin for another month.

      •     The report misrepresented without any reasonable factual basis that Biovail's
            earnings were not sustainable based on several misrepresentations and unfounded
            grounds. For example, the report charged that one component of earnings for the
            last quarter was properly attributed to an unsustainable “active share repurchase
            program” when no stock had been repurchased in over a year. Similarly, it
            challenged the sustainability of Biovail's earnings based on the materially false
            assertion lacking a reasonable basis that Biovail's tax rate was unsustainably low.

      •     The report misrepresented without any reasonable factual basis that Biovail's
            financials utilized an inappropriately and unsustainably low tax rate compared to
            its “peers.” This assertion was materially false and misleading because the
            “peers” bore no reasonable comparison to Biovail's unique tax circumstances or
            corporate tax structure. In truth, Biovail's tax rate was entirely in line with
            similarly structured companies and had been maintained for more than a sufficient
            time to demonstrate its sustainability.



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      •     The report misrepresented without any reasonable factual basis that Biovail had a
            history of “aggressive accounting” that “materially alter[ed] the firm's reported
            financial performance by shifting profits to the current period (at the expense of
            future periods).” The basis for this accusation of aggressive accounting was that
            in 2001 Biovail restated certain prior quarters, which the report claimed showed
            that in those prior quarters Biovail had failed “to comply with generally accepted
            accounting principles” and thereby overstated “top line revenues -- arguably the
            most important metric followed by analysts and investors.” This assertion was
            materially false and misleading because at the time those prior quarters were
            reported on they were properly accounted for under GAAP and were subsequently
            restated only because subsequent changes in the governing accounting rules
            mandated such adjustments to reconcile historical reporting with the newly
            imposed rule. (SAB 101).

      •     The report misrepresented without any reasonable factual basis that Biovail had
            used its “substantial discretion” in accounting for in-process R&D to manipulate
            earnings -- and that Biovail had in fact used this method to manipulate earnings --
            when, in fact, Biovail had no discretion over these mandatory write-offs under
            GAAP and the written-off values were set by independent third-party valuation
            experts.

      •     The report misrepresented without any reasonable factual basis that Biovail was
            experiencing “severely negative free cash flow” when in fact Biovail was
            generating significant positive cash flows. In order to support this gross
            distortion, the report ignored actual cash flows and instead misleadingly and
            without any reasonable basis used the cash available after discretionary
            acquisitions as the only measure of cash flow.

      •     The report cited its materially misleading cash flow analysis to support an equally
            misleading and unfounded concern that Biovail would suffer a liquidity crisis. In
            fact, by any reasonable measure, Biovail had ample liquidity with enormous cash
            flows, a substantially undrawn $600 million credit facility, and a credit rating just
            below investment grade.

      •     The report misrepresented Biovail's debt ratios by citing only debt to equity and
            not debt to EBITDA or interest coverage both of which are standard credit metrics
            which showed low leverage.

      •     The report misrepresented without any reasonable factual basis that Biovail had a
            “significant risk” of “low quality receivables” when, in fact, Biovail had better
            quality receivables than almost any other company in the industry with most
            receivables due from three of the largest and most credit-worthy pharmaceutical
            companies and three similarly substantial and credit-worthy major wholesalers.

      •     The report misrepresented without any reasonable factual basis (or explanation)
            that Biovail had overstated the value of its substantial intangible assets.


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       •       The report misrepresented without any reasonable factual basis that there was a
               “high likelihood of product . . . write down[s].” This incorrect assertion was
               based on several material misrepresentations and unfounded assertions of fact.
               First, citing what it described as a “sharp drop in sales,” the report asserted that
               Biovail's accounting had overstated Cardizem CD's and Zovirax's effective
               product life. This statement lacked any reasonable factual basis and was
               materially misleading because the described drop was expected, disclosed,
               predictable, and fully accounted for in the drugs' acquisition prices and
               amortization schedules. Second, the report stated falsely that the newly launched
               Cardizem LA would face “strong competition from other products in the
               Cardizem family (i.e., CD, SR, and XL)” when, in fact, Biovail owned the rights
               to CD, SR was not actively being marketed by anyone anywhere, and no such
               thing as Cardizem “XL” existed. Third, the report predicted Biovail would also
               have to write down its drug Vaseretic because it had “ceased promoting” it when,
               in fact, Biovail had never promoted that product and accounted for its product life
               and projected revenues based on that fact. Fourth, the report stated that Zovirax
               had generic competition, which it did not.

       93.     These and other gross misrepresentations of fact and unfounded statements were

the product of -- and could only be reasonably viewed as -- a reckless disregard for the truth

consistent with a specific intent to deceive in order to serve S.A.C.'s market manipulation

scheme. Further evidencing this reckless indifference and deceptive intent is the fact that the

Camelback Defendants never called Biovail to seek input, comment, or the answers to any of the

many grossly distorted facts and opinions contained in the report even though this is a standard

industry practice and common sense to ensure fair and accurate analysis. No such comment was

sought because the objective of the report was not to present accurate and honest analysis, but to

manufacture bogus accounting issues that S.A.C. could use to erode investor confidence even in

the face of strong business fundamentals and performance.

       94.     S.A.C., the Camelback Defendants, and other Enterprise members, agreed and did

aggressively disseminate the Camelback report to major Biovail investors, including Class

members, potential investors, other analysts, including Maris, and other market participants to

amplify the negative impact of the report's materially false and misleading assertions.



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       2.      The Maris Wellbutrin XL Report

       95.     While collaborating with the Camelback Defendants, McCarthy was also closely

collaborating with Maris. Indeed, alerted by several hedge funds that the defendants were

launching a short-selling attack on Biovail, Maris contacted the leading financial journalists with

whom he had dealt during his work on Elan to begin the process of securing similar coverage of

what he understood would be an aggressive campaign to drive Biovail's stock down and possibly

the company out of business, and in which he intended to participate by issuing extremely

negative reports.

       96.     Accordingly, on June 26, 2003, Biovail and Glaxo received a highly-anticipated

“approvable” letter from the FDA for Wellbutrin XL, which meant that FDA approval of this

important drug would likely be secured after a limited number of remaining modest tasks were

addressed. As a result, the price of Biovail stock began to rise. Although BAS had not yet

authorized Maris to begin coverage of Biovail, he nevertheless began his support of the short

attack by issuing a research report on Biovail competitor Andrx as a vehicle to comment

negatively on this undeniably positive Biovail development. In that report, Maris knowingly and

materially overstated the difficulty Biovail would have receiving final approval and asserted the

approvable letter would likely result in a delay in the receipt of approval without any reasonable

basis for that assertion and without any belief in its truth, and only because he believed it would

advance the interests of the hedge funds with whom he was working in concert.

       97.     Maris and McCarthy continued collaborating on this issue going forward. For

example, on July 22, 2003, McCarthy informed Maris of the material non-public inside

information that Glaxo and Biovail had “in hand” a class 1 or class 2 letter from the FDA

concerning the Wellbutrin XL approval and that Glaxo Wellcome would likely announce this




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fact the following day.     Maris and McCarthy discussed the potential significance of this

information to Biovail's price and passed it along to BAS clients and S.A.C. adjusted their

trading positions based on it.

       3.      The July 11, 2003 Bogus Camelback Report

       98.     On July 11, 2003, McCarthy directed the Camelback Defendants to issue another

report on Biovail discussing the disclosure of a two year-old “forward sale” transaction by a

Biovail director and knowingly and falsely asserting without any reasonable basis that Biovail

had improperly failed to disclose this transaction earlier. Although this dated transaction was not

remotely material to Biovail's current condition, had never before nor at the time required

disclosure, and did not remotely approach the relevance of far more current and material

developments concerning Biovail, McCarthy and the Camelback Defendants used it as a pretext

to repeat their prior negative recommendations on Biovail and raise further unfounded concerns

regarding its reputation and practices. Again, McCarthy, the Camelback Defendants, and other

Enterprise members agreed and did aggressively disseminate the Camelback reports to major

Biovail investors, including Class members, potential investors, other analysts, including Maris,

and other market participants to aggravate the negative impact of those reports.

       4.      The Attack On Cardizem LA

       99.     In addition to disseminating materially false and misleading information

concerning Biovail's accounting, the defendants also targeted its Cardizem LA launch and

strategic transition to a fully-integrated pharmaceutical company. Thus, beginning at or around

the same time as the efforts to spread rumors concerning Biovail's accounting, defendants also

began spreading negative rumors that the PLACE clinical experience study was an inappropriate

means to boost Biovail's financials (when in fact PLACE prescriptions were free).




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       100.      Like the attack on Biovail's accounting, the effort to sabotage Cardizem LA

initially manifested itself in general marketplace rumors. This whispering campaign however

reached an apex on or about July 20-21, 2003 when The Wall Street Journal and Barron's

published reports raising the identical (albeit unfounded) assertion that the PLACE clinical

experience research study was nothing more than a method of paying doctors to write

prescriptions.    The Wall Street Journal article was entitled “Biovail Is Paying Doctors

Prescribing New Heart Drug,” and the Barron's article was entitled “Pill Pusher: Drug Maker

Biovail Sparks Controversy By Paying Doctors to Write Prescriptions.” In addition, the articles

referred to the purported concerns about Biovail's accounting that the defendants had previously

manufactured and disseminated throughout the market.

       101.      That these negative articles were orchestrated is apparent from the fact that the

two articles were written by two different writers, told essentially the same story, quoted

overlapping sources, and appeared virtually simultaneously.        Moreover, it is apparent that

Enterprise members and other hedge funds were involved in this orchestration. The articles

echoed the purported accounting concerns contained in the ghost-written Camelback reports and

every doctor quoted critically about the PLACE program was connected to hedge funds either

directly or through Defendant Gerson Lehrman.

       102.      For example, the most critical comments came from a 79 year-old New York

cardiologist Emanuel Goldberg, who was inexplicably quoted in each purportedly independently

researched article. In The Wall Street Journal, Goldberg was quoted as saying that Biovail told

him “ ‘If you give [Cardizem LA] to 15 patients, you'll get $1,000’” but he refused because” ’it's

not clear why you're really giving the drug.’” In the Barron's article, Goldberg also claimed he

had been offered $1,000 to write 15 prescriptions, and said “I told them that it was unethical” but




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“they still asked me if I'd do it.” Moreover, although he said he had not actually even considered

the program let alone agreed to participate in it, he nevertheless reported that he doubted the

“seriousness of the research component in Biovail's program.”

         103.   Goldberg's story was categorically false.     Biovail never asked Goldberg to

participate in the PLACE program let alone proposed paying him $1,000 to write prescriptions.

Indeed, Goldberg has since admitted that he was not, in fact, contacted by Biovail, and that

Gerson Lehrman paid him to provide quotes for The Wall Street Journal and Barron's.

         104.   Goldberg's fabricated story was orchestrated by the Gerson Lehrman Defendants,

for whom Goldberg worked regularly, on behalf of members of the Enterprise paying Gerson

Lehrman to assist in generating negative publicity about Cardizem LA. Indeed, of the five

doctors to whom negative comments were attributed in these articles, at least four were

consultants with Gerson Lehrman or otherwise did work for hedge funds. For example, hedge

fund Perry Capital was “consulting” with North Carolina cardiologist Joseph Guzzo through

Gerson Lehrman just days before he was quoted negatively in the Wall Street Journal article. At

the same time, Perry Capital was accumulating no less than 1.1 million put options on Biovail

with which it stood to gain enormous profits in the event Biovail's stock price declined.

Likewise, Gerson Lehrman consultant Dr. Peter Goodfield was quoted negatively in the Barron's

article, and the most critical doctor after Goldberg -- Cleveland cardiologist Dr. Eric Topol --

was directly employed as an advisor by hedge fund Great Point Partners which was also directly

or indirectly trading in Biovail at the time and would later gain notoriety for making tens of

millions of dollars shorting Merck stock based on Dr. Topol's recommendations concerning

Vioxx.

         105.   As a direct result of the approximately first six weeks of the short-selling attack




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(from early June through the publication of the orchestrated articles concerning Cardizem LA),

the materially misleading unfounded negative rumors, reports, and news articles eroded the price

of Biovail's stock by 20%. In addition, within weeks of the Barron's and Wall Street Journal

articles, the United States Attorney's Office for the District of Massachusetts, on behalf of the

Office of Inspector General, commenced an investigation into the PLACE program that would

ultimately have a further substantial negative impact on investor and marketplace confidence and

ultimately -- as set forth more fully herein -- Biovail's effort to successfully launch Cardizem LA

and become a fully integrated pharmaceutical company.

       5.      The Bogus July 31, 2003 Camelback Report

       106.    In or about July 2003, McCarthy informed the Camelback Defendants that while

S.A.C. was pleased with the over 20% decline in Biovail's stock price since early June and had

made enormous profits based on that decline, S.A.C. was looking to drive the stock price far

lower still. Consistent with this objective, on July 31, 2003, McCarthy again had Camelback

issue a report McCarthy dictated that was rife with materially false and misleading information,

including the following:

       •       The report reiterated the unsubstantiated and materially misleading assertion that
               “the firm's strategy of developing into a 'full-service pharmaceutical company' has
               failed to produce tangible benefits to shareholders” when in fact the
               implementation of that strategy was just beginning.

       •       The report misrepresented without any reasonable factual basis that “management
               has obscured” the extent of this non-existent failure by “aggressive accounting
               tactics.”

       •       The report misrepresented without any reasonable factual basis that Biovail's
               reported earnings per share were “vastly overstated” and “artificially inflate[d]”
               by improperly excluding various items such as acquired in-process research and
               development costs, when in fact GAAP required that such charges be separately
               identified and written off.

       •       The report misrepresented without any reasonable factual basis that Biovail would


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               not be able to sustain its rate of earnings based on several materially misleading
               rationales and misrepresentations. For example, the report falsely asserted that
               declining product sales were indicative of a failure in Biovail's new product
               launches when in fact such declines were (and had been disclosed as) the
               temporary and expected dislocation associated with the transition from older
               legacy products to the new products then being set for launch.

       •       The report misrepresented without any reasonable factual basis that Biovail was
               “significantly more leveraged” than in previous quarters.

       •       The report rebroadcast the unfounded and false reports that Biovail was pursuing
               a program “to pay doctors for prescribing Cardizem LA.”

       •       The report reiterated the previous false and unfounded predictions of “imminent
               risk of a product rights write-down, and frequently negative free cash flow.”

       107.    Again the false and unreasonable unfounded assertions were not honestly held

beliefs or analyses of the Camelback Defendants but were offered instead to advocate the views

and interests of the hedge funds paying for the report. This bias and indifference to the truth is

evidenced in the fact that the Camelback Defendants did not contact the company to seek

information or clarification concerning any of the issues to be discussed or concerns raised in

this materially misleading report. Again also, S.A.C., the Camelback Defendants, and other

Enterprise members agreed and did aggressively disseminate the Camelback reports to major

Biovail investors, including Class members, potential investors, other analysts, including Maris,

and other market participants to aggravate the negative impact of those reports.

       6.      The Bogus September 16, 2003 Camelback Report

       108.    During September, McCarthy continued to work with the Camelback Defendants

to orchestrate an additional negative research report on Biovail. On or about September 16,

2003, Camelback issued an Earnings Quality Analytics Alert that reiterated -- without any new

information -- its materially false and misleading assertions about Biovail's increased

dependence on lower quality sources of revenue, negative cash flows, low sustainable earnings,




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earnings overstated by nonrecurring gains, unsustainably low tax rates, inappropriate off-balance

sheet R&D entities, in-process R&D charges, and declining core product sales. In addition, the

Camelback report added the following materially false and misleading statements:

       •      The report misrepresented without any reasonable factual basis that Biovail had
              established a new entity to inappropriately shift research and development costs
              off balance sheet when, in fact, this entity was not an off-balance sheet entity but
              was a consolidated entity.
       •      The report misrepresented without any reasonable factual basis that an increase in
              Biovail's receivables balance in 2002 reflected deteriorating payments and past
              earnings manipulation when in fact the increase merely reflected sizable co-
              promotion payments and thus reflected not a decrease in payments or
              manipulation, but a substantial increase in amounts earned, due, and substantially
              collected.

       •      The report misrepresented without any reasonable factual basis that expanding
              inventory levels reflected a “risk of obsolete inventories” when in fact it reflected
              the build-up of inventory for Biovail's new product launches.

       •      The report misrepresented without any reasonable factual basis that Biovail had
              “fragile free cash flows” when in fact Biovail's cash flows were far greater than
              those of its closest competitors. Camelback made the materially misleading and
              provocative assertion that “free cash flow declined over 200%, as acquisitions
              jumped an alarming 2144%” when in fact the only reason such numbers were so
              high was because in the prior year the report used for comparison Biovail had
              elected to make no acquisitions and therefore did not consume any of its cash
              flow for acquisitions.

       •      The report misrepresented without any reasonable factual basis that Biovail's
              acquisitions were “alarming” or unsound.

       •      The report falsely asserted without any reasonable or factual basis that the
              increased intangible asset base indicated that “the company has overpaid for
              recently acquired subsidiaries and product rights” resulting in “both assets and
              book value [being] overstated.” In fact the intangibles value had increased
              because Biovail had used its cash flow to acquire more revenue generating assets,
              while Camelback offered, and had, no reasonable basis for concluding any such
              acquisitions were overvalued.

       109.   As before, this report did not contain or reflect an unbiased independent opinion

but a result oriented service to the Camelback hedge fund clients. Highlighting this bias, the

Camelback Defendants again did not contact Biovail to review their analysis, held the report


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once it had been completed until S.A.C. instructed them to release the report, and, in agreement

with S.A.C. and other Enterprise members, aggressively disseminated the report, including to

Maris, to magnify its negative impact.

        7.     The Maris October 8 and 10, 2003 Reports

       110.    McCarthy's collaboration with Maris intensified as Maris prepared to finally

initiate coverage on Biovail when it reported its third quarter results.       At the time, Maris

informed McCarthy and other Enterprise members that he intended to initiate coverage with an

extremely negative report and a sell rating based on the same or very similarly unfounded

accounting criticisms McCarthy had written in S.A.C.'s bogus Camelback reports as a reason for

recommending a sell in the face of Biovail's substantial business prospects. McCarthy and Maris

understood that such criticisms from Maris would reach a far broader audience and have a far

greater impact on Biovail and its stock price than the prior rumor campaign and ghost-written

Camelback reports previously disseminated.

       111.    To accomplish this preordained objective, Maris initially retained two outside

accounting experts he hoped would parrot the accounting criticism previously manufactured in

S.A.C.'s Camelback reports and provide him a basis for recommending that investors sell their

Biovail stock despite otherwise solid business projections that Maris could not dispute. This

plan, however, hit a snag when the first two retained experts submitted reports that were not

consistent with this preordained objective. Indeed, the first expert informed Maris that the

requested accounting analysis was “meaningless” for Maris's stated purpose of evaluating

Biovail's investment value because it did not address the value of Biovail's products, intangible

assets, and business model. The first expert further stated that the analysis required to answer the

question concerning Biovail's investment value was whether Biovail management could succeed




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in executing its business model, and that the conclusion of that analysis “might very well be yes”

but could not be determined from Maris's requested analysis. While the second expert rendered

no opinion on the meaningfulness of the request, his characterization nevertheless also torpedoed

Maris's preordained objective by grading Biovail's accounting as a B- and noting that while some

of the accounting was “moderately aggressive,” the enormous detail Biovail provided in its

public disclosures permitted any competent analyst to easily adjust for any such aggressiveness.

Moreover, even with respect to the criticisms they did offer, the experts were not consistent.

       112.    Realizing that the reports were insufficient to sustain his intended conclusion and,

in fact, directly contradicted that conclusion, Maris and his staff undertook to salvage their

efforts by talking those experts into offering additional comments supporting Maris's opinion.

The second expert, however, actually modified his conclusions during that process to up his

grade of Biovail's accounting to a B+.

       113.    An objective analyst would have accepted these conclusions, and abandoned his

thesis that the share value that Biovail's business would otherwise justify should be discounted

due to accounting concerns. Maris, however, was not objective, but committed to a negative

report citing accounting concerns that he knew would harm Biovail's business and substantially

depress its stock price to the extreme benefit of his short-selling hedge fund supporters and

detriment to Biovail's legitimate investors and Banc of America Securities' less privileged

customers.

       114.    Accordingly, Maris scrambled to locate a third putative expert to provide some

basis for asserting that accounting issues could justify discounting what would otherwise be a

valuation requiring a buy rating. Although this third expert's report made clear -- as did his

predecessors -- that his analysis was not an effort to, and should not be used to, opine about




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Biovail's investment value, and only offered modest accounting criticism, under pressure from

Maris and his staff he also offered that the accounting left “an impression that the opaqueness in

its financial reporting is perhaps a reflection of a deeper problem associated with the execution

of its business model.” Leaping at this “impression” of “perhaps” an associated problem with

the business as a slim read upon which to base their completely result-oriented objective, Maris

assistant David Lohman reported to Maris that “our man came through for us.”

       115.    Nevertheless, Maris realized that he could not -- as originally planned -- include

the entirety of the experts' reports, conclusions, or grades in his own report because doing so

would reveal they did not support his desired outcome. Accordingly, Maris decided that he

would “summarize” the reports in a manner that would support his position.

       116.    Maris's plan to use the misrepresented accounting criticisms to initiate negative

coverage at or around the time Biovail announced its third quarter results in late October was

overtaken by Biovail's announcement in early October that it would miss earnings guidance for

the quarter due to a number of factors, including an accident involving a truck carrying one of

the initial shipments of recently approved Wellbutrin XL. Although at the time of the accident,

Biovail had requested that trading in its stock be halted until it could determine exactly what

happened, the New York and Toronto stock exchanges nevertheless instructed Biovail to issue an

immediate press release so that trading could begin without delay.         In that announcement,

Biovail stressed -- and objective analysts and rating agencies correctly agreed -- that the quarter

“miss” was not the product of a fundamental change in the company's outlook or business.

Nevertheless, fed by the substantial uncertainty that the defendants’ misinformation campaign

had generated about Biovail up to that point and additional manipulative efforts, the market

reacted far more negatively than it would otherwise have to the announcement resulting in a




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substantial drop in the stock price.

       117.    The badly exaggerated drop in Biovail's stock price caused by the defendants’

misinformation campaign resulted in additional enormous profit for the short-selling S.A.C.

Defendants, Camelback Defendants, and other Enterprise members.               On October 6, 2003,

McCarthy reported S.A.C.'s success to Maris who responded “I hope you will make them even

more money.”        Maris also informed McCarthy and other Enterprise members that he was

preparing to rush his planned negative report out to capitalize on Biovail's negative news and

intended to issue it on October 8, 2003.

       118.    As promised and always intended, on October 8, 2003, Maris initiated coverage

on Biovail with a report containing numerous glaring errors concerning basic company

information that reflected his indifference to the facts relating to Biovail's business. The report,

as well as a more detailed follow-up report issued on October 10, 2003, was materially false and

misleading in numerous respects.

       119.    First, the reports led with a materially false and misleading description of the

purported findings by the three accounting experts, which the October 8, 2003 report made clear

were the central basis for Maris's conclusion that Biovail's stock value should be substantially

discounted compared to its peers and thus be valued as a sell. Maris did not include the experts'

actual written reports, their letter grades, or their complete findings and conclusions. Maris

avoided such full disclosures because they would have gutted his plan to cite these accounts as a

reason to sell Biovail stock.

       120.    Moreover, Maris's alternative purported “summary” grossly distorted the actual

opinions given to Maris because it included only the criticisms, badly exaggerated those

criticisms,   and    omitted    all   explanatory,    mitigating,   or exculpatory information   or




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characterizations, including most importantly the experts' ultimate conclusions and grades which

were not consistent with Maris's depiction. By way of example, the Maris summary contained

the following material misrepresentations and omissions concerning the conclusions he had

received:

       •      It did not disclose that the summary was not, as it represented, the product of
              objective unbiased analysis but was instead the product of a preordained objective
              to serve the interests of those hedge funds with which Maris was in concert.

       •      It did not disclose that the third expert was retained only after the first two did not
              provide the necessary answers and it misrepresented that Maris accepted the first
              three experts who agreed to participate.

       •      It did not disclose that the first accountant had (a) concluded that the grade and
              analysis was “meaningless” for Maris's stated purpose; (b) opined that the
              material investment issue was not accounting technicalities but “whether the
              $1.25 billion of purchased goodwill, intangibles and intercompany instruments
              . . . [could] be managed so as to create a future profit stream commensurate with
              the cost of capital;” and (c) concluded that “the answer very well may be yes” to
              that material question but could not be determined through Maris's requested
              accounting analysis.

       •      It failed to disclose that the second expert initially graded Biovail's accounting as
              a B- and then as a B+ and further opined that while some of Biovail's accounting
              was “moderately aggressive” in places, Biovail provided so much detail in its
              public disclosures that any analysts could “perform analytical adjustments and
              fine tune these aggressive methods.”

       •      It failed to disclose that the third expert had likewise stated that his analysis was
              not appropriate for Maris's stated purpose.

       •      It carefully edited out innumerable inflammatory and argumentative points that
              revealed that the most critical expert lacked credibility and professionalism.

       •      It used the summary format to portray a consensus among the experts when in fact
              their opinions varied widely and were so inconsistent as to preclude any
              reasonable summary of one set of conclusions.

       121.   Second, Maris's October 10, 2003 report also included his own equally distorted

analysis that included, among others, the following materially false and misleading and not

reasonably based characterizations:


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      •     It misrepresented and materially exaggerated a purported decline in Biovail
            organic sales by, among other things, excluding from the analysis substantial
            organically-developed product sales and inexplicably included non-organic sales.
            In addition, Maris's assertion that Biovail could not sustain its organic growth rate
            was inconsistent with his internal financial model which projected growth from
            $646 million in 2002 to in excess of $1 billion in 2003.

      •     It misrepresented without any factual basis that Biovail's R&D expenditures were
            declining even though Maris's internal financial models show that such
            expenditures actually increased to $52.2 million in Q2 from $51.5 million in Q1
            and to $42.5 million over the prior six month period from $39 million over the
            same period the prior year, and that in the most recent quarter R&D had been the
            highest ever quarterly expense. Moreover, Maris's internal financial model
            contradicted his assertions by showing $81 million in R&D expenses in Q3 2003
            versus $52.2 million in Q3 2002 with a further increase to more than $100 million
            in 2005.

      •     It misrepresented without any factual basis that that Biovail's cash flow was
            negative when, in fact, before discretionary acquisitions cash flow was $772.7
            million over the prior four years and $174.2 million in the prior six months.

      •     It misrepresented without any factual basis that future cash flows would require
            additional acquisitions. Indeed, Maris's internal financial model reflected that
            even without acquisitions Biovail would generate $200 million in EBIT and cash
            before depreciation in the next six months and over $1 billion by December 31,
            2005, and experience earnings growth from 1.78% in 2002 to in excess of 10% in
            2003 and 2004.

      •     It misrepresented without any factual basis that Biovail's key performance metrics
            significantly lagged those of its peers based on an accounting analysis Maris used
            that was inconsistent with GAAP.

      •     It raised materially false and misleading and not reasonably founded concerns
            about Biovail's credit based solely on Biovail's debt to equity ratio to the
            exclusion of various other metrics universally considered more instructive on this
            issue and heavily favoring Biovail, including Biovail's debt to EBITDA, interest
            coverage, and EBITDA to interest ratios.

      •     It manipulated the analysis to secure negative results by, among other things,
            inconsistently including or excluding acquired in process R&D expenses in his
            financial analysis so as to reach the most negative outcome.

      •     It misrepresented without any reasonable factual basis that Biovail's low tax rate
            was not sustainable because it was unusually low compared to purported peer
            companies. In fact, none of the purported peer companies were remotely
            comparable to Biovail in their tax circumstances, history, or structure. Moreover,


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               this assertion was materially false and misleading because it failed to even
               mention that Maris's internal financial model showed Biovail had sustained that
               tax rate for over three years, publicly available information showed Biovail had
               sustained that rate since 1994, and other detailed company disclosures showed
               that Biovail's business had been carefully structured so as to sustain that tax rate.

       122.    Third, the report misrepresented that it was the product of Maris's objective,

unbiased, and independent analysis when in fact it was created to support the trading positions of

substantial short-selling hedge fund clients who Maris sought to please and work with so as to

advance his own personal, professional, and financial interest at the expense of Biovail and its

investors and employees as well as the other clients at Banc of America Securities who did not

enjoy the same special access and influence as those hedge funds. Nor did the report disclose

that Maris was in many instances basically doing little more than rebroadcasting the almost

identical and similarly tortured analyses that McCarthy had included in the ghostwritten

Camelback reports that the Enterprise members had provided to Maris -- as reflected in the

following representative but not exhaustive comparison between Maris's reports and S.A.C.'s

Camelback analysis:

        S.A.C.'s Camelback Reports                                 Maris Reports

Describes analysis as                             Describes analysis as
”Earnings Quality Analytics”                      ”Earnings Quality Analysis”

Claims “Recent revenue growth” has                Claims “Recent revenue trends” have
“slowed dramatically”                             “significantly slowed”

Claims “Significant decline in the quality of     Claims that “Biovail's earnings quality has
bottom line earnings” over a five year            been poor” over a five year “aggregate”
"cumulative" basis                                basis.

Questions “limited organic growth”                Questions whether “company has produced
                                                  organic growth”

Criticizes decline in “product sales as a % of    Criticizes decline in “Product sales as a % of
total revenue” and “increases in non-core         total sales” and increase in “significant
revenues”                                         royalties and licensing revenue gains”



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        S.A.C.'s Camelback Reports                                Maris Reports

Criticizes that “R&D expense has remained         Criticizes that “R&D expense as a percentage
flat over the past three years and fallen to      of revenue was just 6.6% of total revenue in
6.6% of the top line revenues in 2002.”           2002.”

Criticizes the “large intangible asset balance” Criticizes “the amount of intangible assets on
and ratio of “intangible assets relative to total Balance Sheet” and “intangible assets [ ] as
assets”                                           a percent of total assets”

Questions Biovail's “unusually low” tax rate      Questions “Is the unusually low 7% tax rate
“not sustainable” because it is “significantly    sustainable?” because it was “significantly
lower than those reported by all but one of       below its peer group”
its peers”

Criticizes “history of unusual transactions       Criticizes “history of employing aggressive
and aggressive accounting”                        accounting practices”

Asserts “Large In-Process Research and    Asserts “In process R&D – why it should be
Development Charges Distort Earnings” and included as R&D”
“Frequent In-Process Research and
Development Charges Skew profitability”

Claiming aggressive accounting, asserts that      Claiming aggressive accounting, asserts that
“On December 29, 2000, BVF purchased all          “On December 29, 2000, Biovail purchased
the [ ] common shares of IPL . . . Total          all of the equity of Intelligent Polymers
consideration for the transaction amounted        Limited . . . for total consideration of 204.9
to 204.9 million.”                                million.”

Claiming aggressive accounting, asserts that      Claiming aggressive accounting, states that
“On September 29, 2000 two days before the        “On September 29, 2000, just two days prior
first scheduled price increase – BVF sold its     to the first price hike, Biovail sold its stake
interest in the company to IPL Acquireco.”        in IPL to IPL Acquireco.”

Claiming aggressive accounting, states that       Claiming aggressive accounting, states that
“Three months later, on December 29, 2000         “On December 29, 2000, less than three
BVF purchased all the voting common               months later, Biovail purchased all common
shares of IPL Acquireco.”                         shares of IPL Acquireco.”

Claiming aggressive accounting, states that       Claiming aggressive accounting, states that
“the product rights were immediately              expensing of IPL-Acquireco R&D was
expensed as IPRD – which was essentially          “dismissed as non-recurring by the analyst
ignored by the analyst community”                 community”




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        S.A.C.'s Camelback Reports                                 Maris Reports

Claiming aggressive accounting, states that        Claiming aggressive accounting, states that
that “BVF paid $43.1 million to Pharma             “BVF also incurred a non-cash charge for
Tech to terminate the development of               acquired research and development of $43.1
certain products, recording the payment as         million related to a termination of a
an in-process research and development             development agreement that BVF
charge”                                            previously had with Pharma Tech.”

Warns “Although free cash flow rebounded           Warns “While FCF trends in 2003 show an
in Q1 2003, we do not believe this trend is        improvement, this is too short a data set to
sustainable. In this regard, in order to           judge any true progress or trend in our
continue to produce the level of sales growth      opinion. We believe that in order to
to which BVF investors have become                 continue to generate the robust earnings
accustomed, the comparatively low level of         growth BVF investors are accustomed to,
Q1 product rights acquisitions cannot last.”       the product company will likely have to
                                                   make additional product acquisitions.”

Criticizes questionable “company loans to          Criticizes “company loans to management
officers" and the purchase of an airplane          and the purchase of a corporate jet from
"from an entity controlled by Melnyk”              CEO.”

       123.    As set forth more fully above, these accounting and other criticisms were

materially false and misleading, were not reasonably based, and were not honestly-held beliefs

based on objective analysis but were result-oriented advocacy offered to appease certain hedge

fund clients of the bank for Maris's own personal, professional, and financial benefit. That

Maris's accounting focus was not the product of good faith is further evidenced by Maris's failure

to raise like concerns with other similarly-situated companies or ever again revisit these issues in

a similar manner in any future Biovail report.

       124.    Finally, Maris's report misrepresented that he had conducted a personal

investigation into the truck accident that had precipitated Biovail's early October earnings

warning, and makes the absolutely unfounded accusation that the truck was “empty.” More

significant, Maris misrepresented that he had investigated the accident without disclosing that he

was simply rebroadcasting without attribution assertions made to him by short-selling Enterprise



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member Itros Capital which he understood was, like S.A.C., shorting Biovail stock and provided

Maris with the negative information concerning the truck accident so that he would

“rebroadcast” it to the market. At the time, Itros Capital was likewise collaborating with S.A.C.

concerning the same issues and the Itros Capital fund manager involved would later go on to

work for the S.A.C. Healthco managers and defendants Arthur Cohen and Joseph Healey.

        125.   Maris's premeditated and biased reports not only made a mockery of any pretense

of independent analysis, but his manufactured reports -- intended to assist specific short-selling

clients in their trading strategies -- directly violated the representations made in those Banc of

America Securities reports, which promised: “Any opinions, projections or forecasts in this

report are, unless otherwise stated, those of the author and do not represent the views of the

issuer or any other person. . . . This report is issued without regard to the specific investment

objectives, financial situation or particular needs of any specific recipient.”

        126.   Maris's October 8 and 10, 2003 reports received substantial attention in the press

and financial markets due in large part to Maris's and McCarthy's aggressive promotion. Indeed,

McCarthy praised Maris for the report in an October 9, 2003 e-mail and reported that he was

using the report to pressure other analysts to likewise downgrade Biovail.         Maris worked

aggressively to get other market participants to publicize, rebroadcast, and adopt the materially

false and misleading accusations in his report and obsessively monitored the report's minute-by-

minute impact on Biovail's stock price and the substantial media and investor attention he was

generating. In addition, Maris collaborated with McCarthy, Arthur Cohen, Healey, and other

Enterprise members on his plans to release an extended version of the October 8, 2003 report

two days later for the purpose of maintaining the downward pressure on the stock around this

time.   Maris also informed others that he “would like to contact the FBI, SEC, and local




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authorities” to discuss his criticisms of Biovail's accounting in the hope that doing so would

result in the initiation of regulatory investigations and even further downward pressure on

Biovail's stock.

        127.   Immediately upon the release of these two putative research reports, Maris had his

staff send a constant stream of reports on the stock price movement and whether it was going

down as he plainly hoped.

        8.     The Bogus October 7, 2003 Camelback Report

        128.   The day before Maris issued his initial misleading report, McCarthy also had

Camelback issue a new report falsely accusing Biovail of “reversing Prilosec royalties reported

in an earlier period.” This report was categorically false because Biovail had never booked or

reported any such royalties in any prior quarter or, therefore, reversed any prior reported

royalties.

        129.   The market reaction to early-October 2003 Maris and Camelback reports was an

unmistakable 14% additional drop in the stock price, on enormous trading volumes.

        9.     Maris's October 30, 2003 Ambush

        130.   Prior to Biovail's October 30, 2003 Q3 earnings call, Maris was informed of

misappropriated confidential non-public information that Melnyk had used his securities account

at UBS in some form of financing arrangement. Armed with that information, on the company's

October 30, 2003 investor conference call concerning its third-quarter earnings, Maris asked

Melnyk whether he had “sold any stock or entered into any agreement such as loans where the

stock is pledged like collars or derivative structures.” Melnyk correctly answered no. Maris's

question was irrelevant to Biovail's third quarter performance that was the subject of the call, and

was intended solely to falsely suggest that Melnyk was surreptitiously monetizing his Biovail




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holdings without disclosure.

       131.    That same day, McCarthy congratulated Maris on his role in turning investor

sentiment against Biovail. In an e-mail, he notified Maris that because of their efforts “the chat

room has turned” with posters citing Maris's accounting attacks -- which McCarthy and other

members of the Enterprise were aggressively rebroadcasting -- as the reason not to invest in

Biovail because “it is impossible to give a valuation floor for bvf as we have no clues what

[Biovail's accounting] is hiding.”   The next day, defendants Maris and Vickrey criticized

Biovail's accounting and investment value in the Ottawa Citizen newspaper. That same day,

hedge fund Balyasny Asset Management, which was also shorting the stock, wrote Maris

“thanks for your help again,” and provided Maris with a detailed negative analysis of Biovail's

accounting for Maris's future use and rebroadcast. As he had hoped, numerous short-selling

hedge fund clients congratulated Maris and his bosses on the impact of report.

       10.     The Bogus October 30, 2003 Camelback Report

       132.    The same day as Maris's questions about collars and derivatives, McCarthy and

the Camelback Defendants issued an October 30, 2003 report that falsely cited the large amount

of Wellbutrin XL shipped out at the end of the quarter as evidence “of channel stuffing.” In fact,

however, as McCarthy and the Camelback Defendants well understood, the demand for Biovail's

Wellbutrin XL product was enormous and far exceeded Biovail's supply such that any suggestion

of “channel stuffing” was beyond specious.

       133.    Likewise, the Camelback report again falsely accused Biovail of creating an off-

balance sheet vehicle to hide R&D costs when in fact the vehicle they were discussing was being

consolidated on Biovail's books. Finally, Camelback alleged “aggressive accounting” against

Biovail despite the fact that Ernst & Young had approved its financial statements for both years




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and without regard to numerous instances in which Biovail elected conservative accounting

positions than was necessary. The Camelback report was immediately forwarded to Maris.

       134.    At or around the end of October, McCarthy arranged for a meeting between the

Camelback Defendants and Steven Cohen's right-hand man Matt Grossman and other senior

S.A.C. officials about expanding Camelback's work for S.A.C. based on the successful work on

Biovail and other “hatchet jobs.” During that meeting, the S.A.C. representative made it clear

that the senior levels of S.A.C. management were aware of, and pleased with, the work

Camelback had done for S.A.C. on Biovail and other hatchet jobs and were interested in using

the Camelback Defendants to issue similar reports on other companies going forward.

       11.     Defendants’ Pressure on Analysts

       135.    Despite Maris's effective attack, many uncorrupted analysts correctly declared

that the third quarter miss was not indicative of any fundamental problems with Biovail's

business or potential. One such analyst worked for J.P. Morgan. During a conference call with

investors, a person representing that he was a class action plaintiff's attorney asked the analyst to

comment on his potential legal liability to investors based on the price drop that had already

occurred and might occur in the future in the face of his positive recommendations. Like

McCarthy's promotion of the Camelback and Maris reports, such conduct was obviously

intended to intimidate the analyst into downgrading his recommendation to the benefit of short

sellers or class action lawyers, or both.

       12.     Maris Falsely Accuses Melnyk of Lying

       136.    At the same time, questions, rumors, and uncertainty generated by Maris's

question to Melnyk about collars and derivatives became so severe that Melnyk elected to

voluntarily disclose that while he had not entered into any collar, derivative, or any other




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instrument to effectively insulate him from risk with respect to the price of Biovail stock, he had

taken a loan from UBS that was secured by his UBS securities account, including his Biovail

stock. Although this disclosure put to rest any of the concerns that Melnyk was indirectly

reducing his financial stake in Biovail, Maris nevertheless used it as an opportunity to launch yet

another attack. Ignoring the obvious fact that the disclosed loan was fundamentally different

from the collar and derivative transactions Maris had asked about, on November 10, 2003, Maris

issued a “research comment” falsely asserting that Melnyk had essentially lied in his response to

Maris's questions. By the end of November, Biovail's stock price sunk to a five-year low.

Melnyk ultimately sold $49 million worth of stock to pay back the loan. Maris promptly issued a

report citing the insider stock sale as a cause for concern.

       13.     The SEC Investigation

       137.    In addition to aggressively promoting his negative coverage of Biovail and

preparing additional negative coverage in collaboration with S.A.C. and other short-selling hedge

funds, the defendants pursued Maris's stated plan of contacting regulatory authorities by directly

or indirectly communicating to them the accounting issues raised in Maris's October 8 and 10,

2003 reports. In doing so, they did not, however, inform the regulators that Maris had badly

distorted the accounting analysis of his purported experts, plagiarized S.A.C.'s Camelback

reports, rebroadcast information he had received about the truck accident from a hedge fund also

shorting Biovail stock, or collaborated closely with S.A.C. and other Enterprise members and

permitted them substantive input into his reports and knowledge about the timing of the release

of those reports.

       138.    The SEC subsequently opened an informal investigation into Biovail and

requested that Maris send them a copy of his report. Very shortly after receiving this request,




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Jesse Eisinger of The Wall Street Journal, alerted by someone that the investigation had been

announced and Maris had received a request for his report, called Biovail for comment so

quickly Biovail had not even been notified by the SEC that it intended to investigate Biovail.

The next day, Eisinger reported that the investigation had been prompted by Maris's report, of

which the SEC had asked for a copy. Other media outlets likewise reported that the investigation

had been prompted by criticism of Biovail's accounting from “analysts and professors.”

       139.    On November 21, 2003, Maris issued a research note on the investigation and

falsely accused Biovail of failing to disclose the investigation until The Wall Street Journal

forced them to disclose it.    Other analysts would not issue notes or comments about the

investigation until the following days, including Camelback, which at McCarthy's direction

issued a report echoing Maris's comments on the investigations and Melnyk's responses to his

questions concerning collars and derivatives.

       140.    The news and Enterprise reports on the investigation caused Biovail's stock value

to decline another 21% and even analysts supportive of Biovail reported that Biovail was “dead

money” until the SEC investigation was completed.

       14.     Other Evidence of Maris's Bias

       141.    Maris's anti-Biovail agenda continued to manifest itself in numerous other ways

as well. For example, Maris repeatedly ignored Banc of America Securities' own guidelines

requiring an upgrade of a sell rating after a stock had fallen within certain ranges of the sell

recommendation's target price. In addition, when forced by Banc of America Securities to

comply with these requirements, Maris would elect to arbitrarily and without any good faith

basis to lower the target price to maintain a sell rating. Thus, for example on December 10,

2003, Maris's assistant David Lohman informed his team that Maris would want to reduce the




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Biovail target price on his next report, not based on any changed or updated valuation analysis,

but solely because a lower target price would be necessary under Banc of America's guidelines to

maintain the sell rating to which Maris was committed. Thus, Maris's reports plainly and

materially misrepresented that his sell rating was based on whether his objective analysis

suggested a target price below the current share price when, in fact, it was the desire to make a

sell recommendation that drove Maris's target price.

       142.    Maris's comments during this period likewise revealed the strong personal agenda

in his work. For example, when McCarthy forwarded to Maris an article complimentary of

Melnyk, Maris responded that he was “now over the bowl.” And, far worse, when McCarthy

forwarded an article whose sole subject was Melnyk's wife and daughters, Maris responded “this

makes me want to vomit.”

       15.     Defendants’ Continuing Activity

       143.    In mid-January, Biovail stock began to recover, precipitating increased frenzied

communications between Maris, S.A.C., and the other Enterprise members, who then

collaborated on getting Rocker Partners' media outlet TheStreet.com to issue an article again

questioning the circumstances surrounding the October 3, 2003 truck accident. On January 14,

2004, Maris e-mailed an article entitled “More Questions than answers from Biovail” from

TheStreet.com to S.A.C. manager Jon Weiner. The next day, McCarthy and a member of

Maris's staff collaborated about the article and how it might be used, and Weiner e-mailed “call

me, I know why it [Biovail] is up.” Despite these efforts, on January 19, 2004, a panicked

McCarthy e-mailed Maris to report that he was “getting run over” by the still-recovering Biovail

stock price, and to request a call between Maris, McCarthy, Healey, and Cohen. During that call,

Maris assured S.A.C. -- as he did other Enterprise members and legitimate investors -- that he




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was preparing additional negative research and intended to do so until Biovail stock declined

substantially. The rise in Biovail stock stalled the same day as that conversation, as Maris had

predicted, and traded down to below the levels at which it was priced before the run-up. On

January 20, 2004, McCarthy wrote Maris to thank him: “[Y]ou don't know how much that

helped. [T]hanks! Ahhhhhh. Good things.”

       144.    Under the unrelenting pressure of the defendants, including the completely biased

and result-oriented negative reports Maris issued at every opportunity to further the Enterprise's

and his personal objectives, by March 2004, Biovail stock had declined over 58% to below $20

from over $50 less than a year earlier. Pleased with the enormous gains S.A.C. had made on this

drastic decline, the S.A.C. Defendants, including Steven Cohen, called Bettis, Vickrey, and

others at Camelback to congratulate them for their good work and express S.A.C.'s desire for

more negative reports on companies S.A.C. was shorting. Likewise, numerous hedge funds

shorting Biovail praised Maris's efforts.

       145.    Although the price of Biovail stock had declined substantially, S.A.C., the

Camelback Defendants, Maris, and other Enterprise members would continue to launch attacks

to further depress the price and generate volatility in which to execute short-term trading

strategies. For example, on March 4, 2004, more than 700,000 shares of Biovail stock were

shorted.   The next day, Maris issued another negative report on Biovail and Moody's

downgraded Biovail's debt rating based on what the Moody's analyst would later describe as a

never before experienced flood of phone calls pressuring him for a downgrade.

       146.    Likewise, on March 9, 2004, millions of shares were being offered for sale short

and there were many extremely short term put options purchased in the obvious expectation that

Biovail stock was about to experience immediate downward pressure. That same day Maris




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released a report warning of previously-unexpected generic competition from unnamed

competitors, and two days later the Canadian press issued a story rehashing Maris's prior year's

criticisms of Biovail.

       147.    The defendants’ scheme continues to the present day with respect to Biovail and

other targeted companies.

E.     Scienter

       148.    As alleged herein, defendants acted with scienter in that defendants knew that the

statements and documents that were issued and disseminated concerning Biovail and its stock

were materially false and misleading; knew that such statements and documents would be issued

or disseminated to the investing public; and knowingly and substantially participated or

acquiesced in the issuance or dissemination of such statements or documents as primary violators

of the United States securities laws.

       149.    At all relevant times the stock of Biovail traded in an efficient market that

properly digested current information regarding Biovail from all publicly-available sources and

reflected such information in the Biovail stock price. Under these circumstances, all sellers of

Biovail securities during the Class Period suffered similar injury through their sale of Biovail

securities at artificially depressed prices, and a presumption of reliance applies.

F.     Loss Causation/Economic Loss

       150.    Defendants' wrongful conduct, as alleged herein, directly and proximately caused

the damages suffered by plaintiff and the Class.

       151.    During the Class Period, plaintiff and the Class sold securities of Biovail at

artificially depressed prices and were damaged thereby. The price of Biovail stock declined as a

result of the misrepresentations disseminated to the market by the defendants and have yet to




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fully recover from the defendants' ongoing fraudulent scheme, the existence of which has only

recently come to light.

                                              COUNT I

     VIOLATION OF SECTION 10(b) OF THE EXCHANGE ACT AND RULE 10b-5
         PROMULGATED THEREUNDER AGAINST ALL DEFENDANTS

          152.   Plaintiff restates each and every allegation of paragraphs 1 through 152 as if fully

set forth herein.

          153.   During the Class Period, defendants carried out a plan, scheme and course of

conduct that was intended to and, throughout the Class Period, did (i) deceive the investing

public regarding Biovail's business, operations, management and the intrinsic value of Biovail

securities; and (ii) cause plaintiff and other members of the Class to sell Biovail securities at

artificially depressed prices.

          154.   In furtherance of this unlawful scheme, plan and course of conduct, defendants,

jointly and individually, took the actions set forth herein. Defendants (a) employed devices,

schemes and artifices to defraud; (b) made untrue statements of material fact and/or omitted to

state material facts necessary to make the statements not misleading; and (c) engaged in acts,

practices, and a course of conduct that operated as a fraud and deceit upon the purchasers and

sellers of the Company's securities in an effort to cause and maintain artificially low market

prices for Biovail's securities in violation of Section 10(b) of the Exchange Act and Rule 10b-5.

All defendants are sued as primary participants in the wrongful and illegal conduct charged

herein.

          155.   Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to generate and disseminate false and misleading material



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information about the business, operations and future prospects of Biovail as set forth herein.

        156.    The defendants employed devices, schemes and artifices to defraud, and engaged

in practices, and a course of conduct as alleged herein, in an effort to depress the market price of

Biovail securities through the generation and dissemination of untrue statements of material facts

and the omission of material facts necessary to make the statements made about Biovail and its

business operations and future prospects not misleading, as set forth more particularly herein,

and engaged in transactions, practices and a course of conduct that operated on a fraud and deceit

upon the sellers of Biovail securities during the Class Period.

        157.    The defendants had actual knowledge of the misrepresentations and omissions of

material fact set forth herein, or acted with reckless disregard for the truth in that they failed to

ascertain and disclose such facts. Such defendants' material misrepresentations and/or omissions

were done knowingly and/or recklessly for the purpose of falsely portraying Biovail's business

operations and future prospects to the investing public and artificially driving down the price of

Biovail's publicly-traded securities.

        158.    As a result of the dissemination of materially false and misleading information

and failure to disclose material facts, as set forth above, the market price of Biovail securities

was artificially depressed during the Class Period. In ignorance of the fact that market prices for

Biovail's securities were artificially depressed, and relying directly or indirectly on the false and

misleading statements of the defendants, or upon the integrity of the market in which the

securities trade, plaintiff and the other Class members sold Biovail securities at artificially

depressed prices and were damaged thereby.

        159.    At the time of said misrepresentations and omissions, plaintiff and other members

of the Class were ignorant of their falsity and believed them to be true. Had plaintiff and the




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other members of the Class and the marketplace known the truth concerning defendants'

misrepresentations and omissions concerning Biovail's business and its future prospects, plaintiff

and other members of the Class would not have sold shares of Biovail stock or, if they had, they

would not have done so at the artificially depressed prices they received.

       160.    By virtue of the foregoing, defendants have violated Section 10(b) of the

Exchange Act and Rule 10b-5 promulgated thereunder.

       161.    As a direct and proximate result of defendants' wrongful conduct, plaintiff and

other members of the Class suffered damages in connection with their respective sales of Biovail

securities during the Class Period.

                                 DEMAND FOR JURY TRIAL

       162.    Demand is hereby made for a trial by jury for all issues so triable.




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       WHEREFORE, Plaintiff demands judgment: (a) naming plaintiff as lead plaintiff and

certifying the class; (b) awarding plaintiff compensatory damages in amounts to be determined at

trial, together with interest, attorneys' fees, costs and disbursements; (c) awarding plaintiff

punitive and exemplary damages in amounts to be determined at trial; (d) awarding plaintiff

injunctive relief preventing defendants from engaging in continued wrongful activity, as set forth

herein, in the form that the Court may determine is just and proper; (e) prejudgment and post-

judgment interest; and (f) such other and further relief as is just and proper.

Dated: March 24, 2006
                                       LAMPF, LIPKIND, PRUPIS & PETIGROW


                                       By:               /s/ Thomas A. Gentile
                                                      Thomas A. Gentile (TG-6939)

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